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BEFORE THE JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

 

IN RE PROCESSED EGG PRODUCTS .
ANTITRUST LITIGATION : MDL Docket No.:

 

PLAINTIFF ZAZA, INC.‘S MOTION FOR TRANSFER AND CONSOLIDATION OF
RELATED ANTITRUST ACTIONS PURSUANT TO 28 U.S.C. § 1407

Plaintiff ZaZa, Inca ("Za.Za"), respectfully moves the Judicial Panel on Multidi strict
Litigation (the "Panel"), pursuant to 28 U.S.C. § 1407 and Rule 7_.2 of the Rules of Procedure for
the Judicial Panel on Multidistrict Litigation (the "MDL Rules"), f`or an Order transferring all
related actions to the United States District Court for the District of Minnesota, the location of
the first filed action in this matter.

In support of this motion, and as more fully set forth in the accompanying memorandum,
ZaZa avers the following:

l. ` To date, two antitrust class actions have been filed alleging an unlale
conspiracy to fix prices in the market for Processed Egg Products ("Processed Eggs") in violation

of Section 1 of` the Sherman Act.

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2. The first-filed civil action is a class action filed in the U.S. District Court for the
District of Minnesota on behalf of all direct purchasers of Processed Egg Products.1 Pursuant to
Rule 7.2(a)(ii) of the MDL Rules, a Schedule of Actions for Which coordination and
consolidation is requested is submitted concurrently herewith (the "Related Actions").

3. The Related Actions proposed for transfer and consolidation are based on
substantially similar operative facts and therefore "involve[e] one or more common questions of
fact" as required by 28 U.S.C. § l407(a). Common questions of fact are: (l) Whether defendants
conspired With the purpose and effect of fixing prices, raising or maintaining the prices of
Processed Eggs, and committing other anticompetitive practices designed to unlawfully fix, raise,
maintain, and stabilize prices of Processed Egg Products in the United States; (2) the identity of
those Who participated in the conspiratorial conduct; (3) the duration of the conspiracy; (4) the
effect upon and the extent of injuries sustained by plaintiff and members of the class; and (5) the
appropriate type and/or measure of damages sustained by plaintiff and members of the class.
Transfer of the Related Actions for coordination Will prevent duplication of` discovery, eliminate
the possibility of conflicting pretrial rulings, and conserve judicial resources.

4. The U.S. District Court for the District of Minnesota is the most appropriate

forum for coordination or consolidation of the Actions.

5. The District of Minnesota has ample and experienced judicial resources
6. The District of Minnesota is the district With the first filed action.
7. The District of Minnesota is centrally located and is an accessible and convenient

forum for the parties, Witnesses, and counsel.

8. The District of Minnesota is the principle place of business for both defendant

 

The caption of the case is ZaZa, Inc. v. Golden Oval Eggs, LLC, Michael Foods, Inc. and Moark,

 

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Michael Foods, Inc. and defendant Golden Oval Eggs LLC. Defendant Moark LLC also has
strong ties to Minnesota. Land O’Lakes, a Minnesota corporation headquartered in Minnesota,
acquired ownership of Moark LLC in 2006. Golden Oval purchased Moark’s liquid egg
processing assets from Land O’Lakes in 2006.

9. The District of Minnesota is equipped with sophisticated state-of-the-art
courtroom technology

lO. No action has significantly progressed in any jurisdiction and no judge has gained
any significant experience with any of the Related Actions.

WHEREFORE, Plaintiff ZaZa, Inc. respectfully requests that the MDL Panel issue an
Order transferring the Related Actions and all subsequently-filed Related Actions t0 the U.S.

District Court for the District of Minnesota for coordinated or consolidated pretrial proceedings

Dated: September 26, 2008 KAPLAN FOX & KILSHEIMER LLP

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(..continued)
LLC, 0:08-CV-05262 (D. Minnesota), Judge David S. Doty.

 

 

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BEFORE THE JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

 

IN RE PROCESSED EGG PRODUCTS
ANTITRUST LITIGATION : MDL Docket No.:

 

PLAINTIFF ZAZA, INC.'S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
FOR TRANSFER AND CONSOLIDATION OF RELATED ANTITRUST ACTIONS
PURSUANT TO 28 U.S.C. § 1407

I. INTRODUCTION

Pursuant to Rule 7.2(a) of the Rules of Procedure of the Judicial Panel on Multidistrict
Litigation, plaintiff ZaZa, Inc., in ZaZa, Inc. v. Golden Oval Eggs, LLC, et al., 0:08-cv-05262-
DSD-JSM (D. Minn.), filed on Septernber 24, 2008, respectfully submits this memorandum of
law in support of the Motion for Transfer of Related Antitrust Actions to the District of
Minnesota for Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. § 1407. There are
currently at least two substantially similar antitrust actions pending in two different judicial

districts in the United States.1 Plaintiff submits that transfer of all related cases to the District of

Minnesota, Judge David S. Doty, the judge assigned to the ZaZa action, is appropriate and will

 

1 See Schedule of Actions Pursuant to Rule 7.2 of the Rules of Procedure of the Judicial

Panel on Multidistrict Litigation submitted concurrently herewith.

 

 

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promote the just, fair and efficient conduct of this litigation, eliminate duplicative discovery,
prevent inconsistent judicial rulings, and conserve both judicial and party resources.
I. BACKGROUND

A. The Basis of the Litigation

The related actions arise from the same basic facts concerning an alleged conspiracy
among manufacturers of Processed Egg Products to allocate markets and customers and to fix,
raise, maintain or stabilize prices of Processed Egg Products sold in the United States. Processed
Egg Products are eggs which come from raw eggs, also called shell eggs, and can be refrigerated
liquid, frozen, or dried form as well as specialty products such as wet-pack and dry-pack pre-
peeled hard-cooked eggs, either whole, Wedged, sliced, chopped or pickled and long rolls of
hard-cooked eggs. The three largest producers of Processed Egg Products in the United States
are Golden Oval Eggs LLC (“Golden Oval”), Michael Foods Inc. (“Michael Foods”), and Moark
LLC (“Moark”).

The alleged combination or conspiracy began at least as early as January l, 2002, but was
first made public May 23, 2008, When Michael Foods revealed that it received a grand-jury
subpoena requesting documents relating to the pricing, marketing and sale of Processed Egg
Products. Each of the three major Processed Egg Products producers ~ Golden Oval, Michael
Foods and Moark _ have confirmed that they have received subpoenas covering the years 2002-
2008 from the Antitrust Division of the United States Department of Justice concerning their
respective Processed Egg Products businesses According to the disclosures made by Golden

Oval, Michael Foods and Moark, the location of the grand jury in this litigation is the Eastern

District of Pennsylvania.

 

 

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B. The Related Actions

Since Septernber 24, 2008, at least two Related Actions have been filed in two different
districts. The Related Actions share the same core allegations - a conspiracy to fix, raise,
maintain or stabilize prices and to allocate markets and customers in the United States Processed
Egg Product market by the largest manufacturers of these products in violation of Section l of
the Sherrnan Act, 15 U.S.C. § l.2 Further, the Related Actions are all grounded in the
defendants’ common disclosures regarding the pending DOJ investigation into the Processed
Egg Products industry. In addition, the Related Actions seek certification of a class of direct
purchasers of Processed Egg Products and allege identical or substantially similar class periods.
II. ARGUMENT

28 U.S.C. § 1407 authorizes the centralization of civil actions pending in different federal
district courts involving common questions of fact in a single federal district court for
coordinated or consolidated pretrial proceedings:3

When civil actions involving one or more common questions of fact are pending

in different districts, such actions may be transferred to any district for

coordinated or consolidated pretrial proceedings. Such transfers shall be made

by the judicial panel on multidistrict litigation authorized by this section upon its

determination that transfers for such proceedings will be for the convenience of

parties and witnesses and will promote the just and efficient conduct of such
actions.

 

2 The complaint in T.K. Ribbings Family Restaurant v. United Egg Producers, Inc., 08~cv-

4653 - GP (E.D. Pa.), alleges a conspiracy that also covers fresh shell eggs in addition to
Processed Egg Products. The T.K. Ribbings complaint arises from the same grand jury
investigation as the ZaZa complaint and includes as defendants the same defendants in the ZaZa
complaint, among others.

3

The degree and manner of any coordination or consolidation of transferred proceedings is
within the sole discretion of the transferee court. See, e.g., In re General Motors Corp. Secs. &
Derivatl`ve Litl`g., 429 F. Supp. 2d 1368, 1370 (J.P.M.L. 2006); In re Delphi Corp. Secs.,
Derivative & "ERISA"Litig., 403 F. Supp. 2d 1358, 1360 (J.P.M.L. 2005).

 

 

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For the reasons set forth below, centralization of all of the Related Actions in the District
of Minnesota is appropriate.

A. Consolidation And Transfer Of The Related Cases To A Single Forum Is
Appropriate

The requirements for centralization of the Related Actions pursuant to 28 U.S.C. § 1407
are satisfied here. The Related Actions are characterized almost entirely by common questions
of fact. Centralization Will promote the just and efficient conduct of the Related Actions, as well
as further the convenience of the parties and the witnesses, by eliminating duplicative discovery
and the potential for inconsistent rulings, including determinations on class certification In the
present matter, all related actions should be transferred to the District of Minnesota.

1. The Related Actions Are Substantiallv Similar And Share Common

guestions Of Fact

The Related Actions share many common questions of fact which provide a sufficient
basis for consolidating or coordinating the actions in a single forum. Common questions of fact
exist where _two or more complaints assert comparable allegations against similar defendants
based on similar transactions and events. See, e. g., In re Unum Provident Corp. Secs.,
Derivative & “ERISA ” Litig., 280 F. Supp. 2d 1377, 1379 (J.P.M.L. 2003) (centralization
appropriate where “all actions [could] be expected to focus on a significant number of common
events, defendants, and/or witnesses” and “core factual allegations” were consistent among the
actions); In re Japanese Elec. Prods. Antitrust Litig., 388 F. Supp. 565, 567 (J.P.M.L. 1975)
(“Transfer under § 1407 is not dependent on strict identity of issues and parties but rather on the
existence of one or more common questions of fact.”).

Among the numerous common questions of fact (and law) at issue in the Related Actions

 

 

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0 Whether defendants and their co-conspirators conspired, contracted or
combined for the purpose of and with the effect of instituting, raising,
fixing, maintaining, or stabilizing the price of Processed Egg Products sold

in the United States;
¢ The identity of the participants in the conspiracy, contract or combination;
¢ The duration of the conspiracy, contract or combination;
0 The nature and character of the acts performed by defendants and their co-

conspirators in furtherance of the conspiracy, contract or combination;

0 Whether defendants undertook actions to conceal the unlawful conspiracy,
contract or combination described herein;

0 Whether the conduct of defendants and their co-conspirators violated the
relevant federal antitrust laws and caused injury to the business and
property of Plaintiff and the Class; and

0 The proper measure of damages.

The facts to be determined in each of the Related Actions are nearly identical, making
centralization pursuant to 28 U.S.C. § 1407 highly appropriate See, e.g., In re Foundry Resins
Antitrust Litig., 342 F. Supp. 2d 1346, 1347 (J.P.M.L. 2004) (“[t]hese actions share allegations
concerning whether defendants participated in a combination or conspiracy to fix, raise,
maintain, or stabilize the price of foundry resins.”); 111 re Publz`cation Paper Antitrust Litig., 346
F. Supp. 2d 1370, 1372 (J.P.M.L. 2004) (“The actions share allegations that the defendants and
their co-conspirators engaged in a continuing contract, combination or conspiracy in restraint of
trade to artificially raise, fix, maintain or stabilize prices for publication paper in violation of`
federal antitrust laws.”); In re Auto. Refmishing Paint Antitrust Litig., 177 F. Supp. 2d 1378,
1379 (J.P.M.L. 2001) (“Auto Pal`nt”) (“These actions share allegations concerning whether
defendants participated in a combination or conspiracy to fix, raise, maintain, or stabilize the

price of automotive refinishing paint products.”); In re Cuisinarl Food Processor Antitrust Litig.,

506 F. Supp. 651, 655 (J.P.M.L. 1981) (noting that transferred actions “share[d] numerous

 

 

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questions of fact concerning the existence vel non of alleged conspiracy and its scope,
participants, means of operation and effects”); In re Cement & Concrete Antitrust Litig., 437 F.
Supp. 750, 752 (J.P.M.L. 1977) (ordering transfer after observing, inter alia, “the substantial
amount of discovery shared by all actions concerning the existence, scope and effect of
conspiratorial activity”); In re Anthracite Coal Antitrust Litz'g., 436 F. Supp. 402, 403 (J.P.M.L.
1977) (ordering transfer after finding that, “[a]s is often true in multidistrict antitrust actions, the
actions . . . raise[d] common factual questions concerning the existence, scope and effect of the
alleged conspiracy”).
2. Transfer Will Promote The Just And Efficient Conduct Of The
Related Actions As Well As Further The Convenience Of The Parties
And The Witnesses

The prevalence of common factual allegations and identical legal theories propounded by
each plaintiff makes necessary consolidation or coordination of the actions to serve the
“convenience of the parties and witnesses and promote the just and efficient conduct” of the
litigation. 28 U.S.C. § l407(a). Centralization will promote the just and efficient conduct of the
Related Actions, as well as further the convenience of the parties and the witnesses, by
eliminating duplicative discovery, and avoiding inconsistent pretrial rulings. See 28 U.S.C. §
l407(a); see also In re Am. Family Mut. Ins. C0. Overtime Pay Litig., 416 F. Supp. 2d 1346,
1347 (J.P.M.L. 2006) (centralization “necessary in order to eliminate duplicative discovery,
prevent inconsistent pretrial rulings, particularly with respect to class certification; and conserve
the resources of the parties, their counsel and the judiciary”); In re Dynaml`c Random Access
Memorjy (DRAM) Antitrust Litig., 228 F. Supp. 2d 1379 (J.P.M.L. 2002) (centralization

necessary “in order to eliminate duplicative discovery, prevent inconsistent pretrial rulings

 

 

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(especially with respect to class certification matters), and conserve the resources of the parties,
their counsel and the judiciary”).

Failing to consolidate the Related Actions Will likely result in duplicative discovery
efforts requiring witnesses to appear for multiple depositions, production of several sets of the
same documents by defendants, and third parties to respond to multiple subpoenas from plaintiffs
and defendants. In light of the overlapping factual allegations of a price-fixing conspiracy and,
especially, given that discovery has not yet begun in any of these actions, centralization under
§ 1407 will avoid duplicative discovery and result in a substantial savings of the time and
resources of the parties, counsel and the judiciary. See In re Am. Family Mut. Ins. Co. Overtime
Pay Litig. , 416 F. Supp. 2d at 1347; In re Dynamz`c Random Access Memory (DRAM) Antitrust
Litz`g., 228 F. Supp. 2d at 1379.

Centralization will also eliminate the possibility of inconsistent rulings on pretrial
determinations such as class certification. Where the possibility of inconsistent rulings on class
certification issues exists, it is well-settled that centralization is the appropriate course of action.
See, e.g., In re Commercial Money Center, Inc., Equip. Lease Litig., 229 F. Supp. 2d 1379, 1380
(J.P.M.L. 2002) (finding that consolidation of 23 actions filed nationwide Would prevent
inconsistent rulings); In re Sugar Ina'us. Antitrust Litig., 395 F. Supp. 1271, 1273 (J.P.M.L.
1975) (noting that the Panel has “consistently held that transfer of actions under Section 1407 is
appropriate, if not necessary, where the possibility of inconsistent class determinations exists”);
see also, In re Amino Acid Lysine Antitrust Litig., 910 F. Supp. 696, 699 (J.P.M.L. 1995)
(“Centralization under Section 1407 is thus necessary in order to . . . prevent inconsistent pretrial

rulings (especially with respect to class certifications)”); In re Computervision Corp. Sec. Litig.,

814 F. Supp. 85, 86 (J.P.M.L. 1993) (holding that transfer is necessary to prevent inconsistent

 

 

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pretrial rulings, especially regarding class certification); In re Cement & Concrete Antitrust
Litig., 437 F. Supp. at 752 ("[S]ince duplicating or overlapping classes are sought in most of the
actions, transfer to a single district is desirable in order to avoid the possibility of inconsistent
class determinations."); In re Roadway Express, Inc. Employment Practices Litl`g., 384 F. Supp.
612, 613 (J.P.M.L. 1974) (same).

Where, as here, centralization will avoid duplicative discovery and potentially conflicting
pretrial rulings, centralization for coordinated or consolidated pretrial proceedings is warranted
to promote the interests of judicial economy and efficiency and to further the convenience of the
parties and the witnesses.

B. The Related Actions Should Be Transferred To The District of
Minnesota

Transfer of the Related Actions to the District of Minnesota for consolidated or
coordinated pretrial proceedings will best serve the convenience of the parties and witnesses and
the interests of justice. Among the factors this Panel should consider in determining the
appropriate transferee forum are: (1) the location of parties, witnesses and documents and the
accessibility of the proposed transferee forum to parties and witnesses; and (2) the extent of the
proposed transferee court’s experience and familiarity with the types of issues presented See,
e.g., In re “Factor VIII or XI Concentrate Blooa’ Prods. ” Prods. Liab. Litz'g., 853 F. Supp. 454,
455 (J.P.M.L. 1993). These factors favor consolidation and transfer to the District of Minnesota.

1. The District of Minnesota Is Geographicallv Central to Parties,
Witnesses and Documents

The Panel has considered the location of parties, witnesses and documents in selecting a

transferee forum. See, e.g., Auto Paz'nt, 177 F. Supp. 2d at 1379 (choosing transferee forum, in

part, because pertinent documents and witnesses can be expected to be found in [its] vicinity”);

 

 

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In re Southeast Hotel Props. P ’ship Investor Litig., 796 F. Supp. 538, 539 (J.P.M.L. 1992)
(selecting transferee forum based on the likelihood that “many relevant witnesses and documents
are likely to be found” there). The Panel has often stated its preference for consolidation in the
district in which the principal place of business of a defendant, the principal witnesses and
documents are located. See, e.g., 111 re Allegheny Energy, Inc. Sec. Litig., 259 F. Supp. 2d 1368,
1369 (J.P.M.L. 2003) (finding Maryland the appropriate transferee district where, among other
things, the defendant was headquartered in Maryland); In re Am. F amin Publishers Bus.
Practices Lil‘ig., Docket No. 1235, slip op. at 2 (J.P.M.L. August 12, 1998) (finding New Jersey
appropriate transferee district where, among other things, documents and Witnesses Were likely
to be found at the defendant’s New Jersey headquarters).

A considerable portion of the evidence on the claims against the defendants will likely
involve testimony and documents from Minnesota-based defendants Golden Oval and Michael
Foods. Those witnesses and documents are likely to be found at those companies’ headquarters
in the District of Minnesota. None of the defendant manufacturers of Processed Egg Products or

plaintiffs maintain their principal places of business in the Eastem District of Pennsylvania.4

 

“ The fact that a grand jury has been empanelled in a particular district does not make that
district more convenient than other districts. The Panel has repeatedly rejected the location of a
related grand jury investigation as a dispositive factor in analyzing appropriate transferee forums.
See, e.g., In re Hya’rogen Peroxl`de Antitrust Litig., 374 F.Supp. 2d 1345, 1346 (J.P.M.L. 2005);
In re Elec. Carbon Products Antitrust Litig., 259 F.Supp. 2d 1374, 1376 (J.P.M.L. 2003) (finding
District of New Jersey appropriate transferee forum, despite federal grand jury proceedings in the
Eastern District of Pennsylvania); In re Corn Derivatives Antitrust Litig. , 486 F. Supp. 931-932
(J.P.M.L. 1980) (finding District of New Jersey most convenient forum, despite federal grand
jury investigation in Northem District of California, because all maj or defendants were
headquartered in the eastern half of the country); In re Wiring Device Antitrust Litig. , 444 F.
Supp. 1348, 1350 (J.P.M.L. 1978) (transferring cases to the Eastern District of New York, in
part, because relevant documents and witnesses were there, despite fact that grand jury
documents and government’s criminal and civil proceedings were in the District of Connecticut);
In re Plumbl'ng Fixture Cases, 295 F. Supp. 33, 34 (J.P.M.L. 1968) (denying motion to transfer
cases to the Westem District of Pennsylvania despite fact that conspiracy was carried out, grand
jury was conducted and criminal indictments were returned there).

 

 

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No other district presents a compelling choice with respect to the location of parties, witnesses
and documents Further, in the Minneapolis-St. Paul metropolitan area is a geographically
central, easily accessible location, a factor that the Panel has given weight in choosing transferee
forums See In re Prempro Prods. Liab. Litig., 254 F. Supp. 2d 1366, 1368 (J.P.M.L. 2003)
(selecting transferee district based, in part, on its geographic centrality); In re “F actor VIII or XI
Concentrate Blooa’ Prods. ” Prods. Liab. Litig., 853 F. Supp. 454, 455 (J.P.M.L. 1993) (same).
The Panel recognized this fact in transferring the Guia'ant litigation to Minnesota:

Given the varied locations of parties and Witnesses in this docket and the

geographic dispersal of pending actions, it is clear that a wide array of suitable

transferee districts presents itself. In concluding that the District of Minnesota is

an appropriate forum for this docket, we observe that this district, where at least

ten actions are already pending before one judge, is a geographically central,

metropolitan district equipped with the resources that this complex . . . litigation

is likely to require.
In re Guia’ant Corp. Implantable Defibrl`llators Prods. Liabilily Litl`g., 398 F.Supp. 2d 1371,
1372 (J.P.M.L. 2005).

The District is serviced by the Minneapolis-St. Paul Intemational Airport, which is a
major hub for Northwest Airlines. Further, the downtowns to both Minneapolis and St. Paul are
easily accessible from the airport. ln fact, the region's new light rail transit can be taken to

within steps of the federal courthouse in Minneapolis.

F or the foregoing reasons, the District of Minnesota is the most appropriate transferee

district.

 

 

 

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2. The District of Minnesota Has the Necessarv Expertise and Efficiencv
to Manage This Multidistrict Litigation

a. Exgertise

The District of Minnesota has considerable expertise in dealing with issues presented by
complex, multidistrict litigation. A significant factor favoring transfer to the District of
Minnesota is the fact that the first-filed case in this litigation was assigned to Senior Judge David
S. Doty, a highly respected and able jurist, experienced in handling challenging litigation. See,
e.g. , McCOrd v. Minnesota Mut. Life Ins. Co. , Civ. No. 98-2656 (DSD/JMM), MDL No. 1186.
Judge Doty was sworn in to the federal bench on May 21 , 1987 and took senior status on June
30, 1998. He has previous experience in managing MDL and other complex proceedings, and
has done so capably and efficiently. Judge Doty presided over the multidistrict litigation in
McCord v. Minnesota Mul. Life Ins. Co. and currently presides over White v. National Football
Leauge, Civ. No. 92-906, a complex antitrust class action matter. In both cases Judge Doty has
adeptly, effectively and efficiently managed highly complex litigation. Having done So in these
previous cases, as well as in many others, there can be no question as to Judge Doty’s ability to
manage this multidistrict litigation

Moreover, judges within the District have efficiently handled numerous MDLs,
including, among others, In re Airline Tickel Comml'ssion Antitrust Litig. (MDL No. 1058), In re
Monosodium Glul‘amate Antitrust Lilig. (MDL No. 1328), In re KFC Corp. F air Labor
Standara’s Act Litl`g. (MDL No. 1892), 111 re C.H. Robinson Worldwide, Inc. Overtime Pay Litig.
(MDL No. 1849), In re Viagara Products Liabilily Lilig. (MDL No. 1724), In re Guia'ant Corp.
lmplanlable Defibrillators Products Liabilily Litig. (MDL No. 1708), In re Baycol Product
Liability Litz'g. (MDL No. 1431), and In re St. Jude Medical, Inc. Silzone Heart Valves Products

Liabilizy Ling. (MDL NO. 1396).

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The District of Minnesota and Judge Doty clearly have the capability, experience and
resources to handle the pending related actions The District of Minnesota's exemplary record in
managing multidistrict litigation makes it the most appropriate district for transfer and
consolidation of the Related Actions

b. Efficiency

In selecting the most appropriate transferee forum for multidistrict litigation, the Panel
considers the speed and efficiency with which alternative districts manage their respective
caseloads. Statistics measuring median time from filing to trial of civil actions are strong
indicators of how efficiently a Court can manage complex multidistrict litigation See In re
Preferential Drug Prods. PricingAntitrust Lilig., 429 F. Supp. 1027, 1029 (J.P.M.L. 1977)
(transferring cases based in part upon transferee court’s low median time between filing and
disposition in civil actions); In re Corn Derivatives Antitrust Litz`g., 486 F. Supp. 929, 932
(J.P.M.L. 1980) (faster docket cited as a consideration for selecting transferee court); In re
Transit Co. Tire Antitrust Litig., 350 F. Supp. 1165, 1166 (J.P.M.L. 1972) (transferee district had
the lowest median interval from filing of a civil complaint to trial).

As of December 31, 2007, the District of Minnesota had only 854 pending cases per

judgeship versus 945 for the Eastem District of Pennsylvania.5

 

 

 

 

District Pending Cases Per
Judgeship

District of Minnesota 854

Eastem District of 946

Pennsylvania

 

 

 

 

5 The reports containing the docket statistics making up this chart are found at

http://www.uscourts.gov/cgi-bin/cmsd2007.pl.

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Another efficiency measure that the Panel has considered is the number of MDL
litigations currently pending in a transferee district. See In re Gator Corp. Software Trademark
& Copyright Litig., 259 F. Supp. 2d 1378, 1380 (J.P.M.L. 2003) (transferring to a forum that “is
not currently overtaxed with other multidistrict dockets”). The District of Minnesota compares

very favorably to the Eastern District of Pennsylvania in terms of pending MDL dockets:6

 

 

 

 

District Pending MDL Dockets
District of Minnesota 10
Eastem District of Pennsylvania 19

 

 

 

Hence, it is clear that efficiency is best served by transfer to the District of Minnesota.
c. Sophisticated, State-of-the-Art Courtroom Technology

Courthouses in the District of Minnesota are equipped with some of the country's finest,
sophisticated, state-of-the art courtroom technology Courtroom features include a lO-inch touch
panel control and 15-inch flat panel monitor for the judge, as well as two 15-inch flat panel
monitors The jury is given four 15 -inch flat panel monitors in one courtroom and two 20-inch
monitors in another. Witnesses are provided an annotation monitor. Technological tools
available for evidence presentation include a 5-inch panel control, an annotation monitor, a
digital document camera, computer inputs and audio/visual components including wireless
microphones and pink noise to mask bench conferences

In a case such as this, where technical details of Defendants' alleged anticompetitive

conduct is a key issue, technology such as that described above is an important tool to

 

6

The statistics used in this chart are found at:
http://www.ipml.uscourts.gov/Docket Info/PendingMDL-September-OS.pdf.

 

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understanding important facts For these reasons, the District of Minnesota is an appropriate
district for the transfer and consolidation of the Related Actions
d. Existence and Relative Progress of Related Actions

Other factors to be considered include the existence and progress of any related pending
litigation, including whether any judge has become particularly familiar With the claims at issue.
Here, the Related Actions have all been filed within days of each other. Consequently, no action
has significantly progressed, and no judge has gained any significant experience with any of the
Related Actions.
III. CONCLUSION

For the foregoing reasons, plaintiff ZaZa, Inc. respectfully submits that the Related

Actions should be coordinated or consolidated and transferred to the District of Minnesota.

Dated: September 26, 2008 Respectfully submitted,

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REVISED CERTIFICATE OF SERVICE t,;_
I, Roseann Kelly, hereby certify that true and correct copies of the Motion of Plaintiff

ZaZa, Inc. For Transfer of Related Antitrust Actions to the District of Minnesota For Consolidated
Pretrial Proceedings Pursuant to 28 U.S.C. Section 1407; Memorandum of Law of Plaintiff ZaZa,
Inc. in Support of Motion For Transfer of Related Antitrust Actions to the District of Minnesota
For Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. Section 1407; Revised Schedule of
Related Actions; and Revised Certificate of Service were served upon the following parties via
First Class mail service on October 1, 2008:

United Egg Producers, Inc.

1720 Windward Concourse, #230

Alpharetta, GA 30005

Defendant

United Egg Association

1720 Windward Concourse, #230

Alpharetta, GA 3005

Defena'ant

United States Egg Marketers, Inc.

1720 Windward Concourse, #230

Alpharetta, GA 30005

Defendant

Cal-Maine Foods, Inc.

 

3320 Woodrow Wilson Avenue ~

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Defendant "i" :,:§?.§ §
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Hillandale Farms of PA, Inc. > §§

3rd and Crooked Run Road *__ ___rrw CJ

North versaiues, PA 15137 9 52
00

Defena'ant

 

 

   

Case |\/|DL No. 2002 Document 1 Filed 10/09/08 Page 22 of 113

Daybreak Foods, Inc.
533 Tyranena Park Road
PO Box 800

Lakeville, MN 56284

Defendant

Michael Foods Egg Products Co.
301 Carlson Pkwy., Ste. 400
Minnetonka, MN 55305
Defena’ant

MidWest Poultry Services, LP.
9951 West State Rd. 25
Mentone, IN 4539
Defendcmt

Norco Ranch, Inc.

1811 Mountain Avenue
Norco, CA 92860

Defendcmt

National Food Corp.

1930 Merrill Creek kavy #A
Everett, WA 98203
Defena’anl

Nucal Foods, Inc.

720 S. Stockton Avenue
Ripon, CA 95366

Defendant

Rose Acre Farms, Inc.

6874 N Base Rd.
Seymour, IN 47274

Defena'ant

 

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Counselfor Plaintijj”ZAZA, Inc.

And a Copy of the Revised Schedule of Cases and Revised Certiiicate of Service Were served by
First Class mail upon:

Michael E. Kunz

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United States District Court

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James A. Byrne Federal Courthouse
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Philadelphia, PA 19106-1797
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Richard D. Sletten

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Tel: 952-258-4000

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Attn: Legal Counsel
1800 Park Avenue East
P.O. BoX 615

Renville, MN 56284
Tel: 320-329-8182

Defendarzl

Moark LLC

Attn: Legal Counsel
1811 Mountain Avenue
P.(). Box 910

Norco, CA 92860

Tel: 866-757-3447

Defendam

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IN THE UNITED sTATEs DISTRICT COURT 1…1\ 111131111
DISTRICT oF MINNESOTA

 

CASE No.
ZAZA, INC., on behalf of itself and all others
Similal'ly Sit“afed, CLASS ACTIoN COMPLAINT

Plaintiff, JURY TRIAL DEMAND

V.

GOLDEN OVAL EGGS LLC, MICHAEL
FOODS INC., and MOARK LLC

Defendants.

 

 

CLASS ACTION COMPLAINT
Plaintiff, individually, and on behalf of a class of all those similarly
situated, brings this action for damages and injunctive relief under the antitrust
laws of the United States against Defendants, demanding a trial by jury, and
complaining and alleging as follows:
Nature of The Case
1. This lawsuit is brought as a class action on behalf of Plaintiff and all
individuals and entities who purchased Processed Egg Products (defined herein)
in the United States directly from Defendants, their predecessors, parents, or
controlled subsidiaries and affiliates from at least as early as January 1, 2002
through May 31, 2008 (“Class Period”). Plaintiff alleges that during the Class

Period the Defendants conspired to flx, raise, maintain and/or stabilize the prices

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of Processed Egg Products. Because of Defendants’ unlawful conduct, Plaintiff
and other class members paid artificially inflated prices for Processed Egg
Products and, as a result, have suffered antitrust injury to their business or
property.

2. Defendants Golden Oval Eggs LLC, Michael Foods Inc. and MoArk

LLC are the top manufacturers of Processed Egg Products in the United States.
During the Class Period, the prices for Processed Egg Products have risen
disproportionately to the prices of input costs and the rise in prices cannot be
explained by the laws of supply and demand.

JURISDICTION AND VENUE

3. This action is instituted under Sections 4 and 16 of the Clayton Act,
15 U.S.C. §§ 15 and 26, to recover treble damages and costs of suit, including
reasonable attorneys’ fees, against defendants for the injuries sustained by Plaintiff
and the members of the class by reason of the violations, as hereinafter alleged, of
Section 1 of the Sherrnan Act, 15 U.S.C. § 1.

4. This action is also instituted to secure injunctive relief against
defendants to prevent them from further violations of Section 1 of the Sherrnan
Act, as hereinafter alleged.

5. Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and
1337 and by Sections 4 and 16 ofthe Clayton Act, 15 U.S.C. §§ 15(a) and 26.

6. Venue is found in this district pursuant to Sections 4, 12 and 16 of

the Clayton Act, 15 U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b), (c) and (d).

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Venue is proper in this judicial district because during the Class Period one or
more of the defendants resided, transacted business, was found, or had agents in
this district, and because a substantial part of the events giving rise to Plaintiff’ s
claims occurred, and a substantial portion of the affected interstate trade and
commerce described below has been carried out, in this district.
7. Defendants, on information and belief, maintain offices, have agents,
transact business, or are found within this judicial district
PLAINTIFF
8. Plaintiff ZAZA, Inc. (“ZAZA” or “Plaintiff”) is a Florida
corporation with its principal place of business located 3975 NW 4th Street,
Miami, Florida 33126. During the Class Period, Plaintiff purchased Processed
Egg Products from one or more of the defendants The prices paid for the
Processed Egg Products that Plaintiff paid to defendants were, as a result of the
conspiracy herein alleged, higher than they otherwise would have been, and as a
result of the alleged conspiracy, Plaintiff was injured in its business and property
by reason of the antitrust violations alleged herein.
DEFENDANTS
9. Defendant Golden Oval Eggs LLC (“Golden Oval”) is a Delaware
corporation with its principal place of business at 1800 Park Avenue East, P.O.
Box 615, Renville, Minnesota 56284. Golden Oval operates 7 production and/or
distribution facilities in the U.S. lt produces a wide range of egg products,

including liquid eggs, whites & yolks, and further processed egg products for sale

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to other food manufacturers, retailers, food service customers, restaurants,
supermarkets & food distributors Golden Oval is a leader in the liquid egg
industry, serving customers throughout the United States and Canada. In 2006, it
was ranked among the top 10 producers and processors As of May 31, 2008,
Golden Oval’s net sales for 2008 were $165,187,000. Golden Oval marketed
and/or sold Processed Egg Products in this district and the United States during
the Class Period.

10. Defendant Michael Foods, Inc. (“Michael Foods”) is a Delaware
corporation with its principal place of business at 301 Carlson Parkway, Suite
400, Minnetonka, Minnesota 55305. Michael Foods is a principal provider of
Processed Egg Products Defendant Michael Foods marketed and/or sold
Processed Egg Products in this district and the United States during the Class
Period. Michael Foods is the largest North American producer of processed eggs
and has a 45% share of the market Michael Foods is also the largest global
supplier of processed eggs with 2007 sales of $1.6 billion.

11. Defendant MoArk LLC (“MoArk”) is a unit of Land O’ Lakes Inc.
MoArk has facilities in Norco, California, Neosho, Missouri, and Bozrah,
Connecticut. Defendant MoArk marketed and/or sold Processed Egg Products in
this district and the United States from at least 2002 through 2006. In 2006,
MoArk sold its liquid egg processing assets to defendant Golden Oval. In 2006,

Land O’Lakes acquired 100% of the ownership of MoArk, LLC. MoArk’s

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Corporate Offlce is located at 1811 Mountain Avenue, PO Box 910, Norco, CA
92860.

12. Whenever in this Complaint reference is made to any act, deed or
transaction of any corporation, the allegation means that the corporation engaged
in the act, deed or transaction by or through its officers, directors, agents,
employees or representatives while they were actively engaged in the
management, direction, control or transaction of the corporation’s business or
affairs

CO-CONSPIRATORS

13. Various other persons, firms and corporations, not named as
defendants in this complaint, have participated as co-conspirators with defendants
in the violations alleged herein, and aided, abetted and performed acts and made
statements in furtherance of the conspiracy.

PROCESSED EGG PRODUCTS

14. “Processed Egg Products”, as used herein, are the eggs which come
from raw eggs, also called shell eggs, and can be in refrigerated liquid, frozen, or
dried form as well as specialty products such as wet-pack and dry-pack pre-peeled
hard-cooked eggs, either whole, wedged, sliced, chopped or pickled and long rolls
of hard-cooked eggs Processed Egg Products are preferred to shell eggs by
commercial bakers, food manufacturers and the foodservice industry because they
have many advantages including convenience, labor savings, minimal storage

requirements ease of portion control, and product quality, stability and uniforrnity.

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Convenience foods such as cake and pudding mixes, pasta, ice cream,
mayonnaise, candies and bakery goods, among others, utilize Processed Egg
Products

15. Processed Egg Products are sold to other food manufacturers
restaurants, supermarkets and food service distributors

16. Processed Egg Products are homogenous commodity products
Processed Egg Products supplied by one producer may be readily substituted for
Processed Egg Products supplied by any other supplier. As a result, buyers make
purchase decisions based largely, if not entirely, on price.

17. The Processed Egg Product industry is a highly concentrated
industry and has limited suppliers The defendants named herein, supply the
majority of Processed Egg Products in the United States

18. The Processed Egg Products industry has substantial barriers to entry
including the cost of the equipment necessary to manufacture Processed Egg
Products Such barriers are conducive to a conspiracy because they protect
existing suppliers from competition and perpetuate the high market concentration.

GOVERNMENT ANTITRUST INVESTIGATION

19. It has been recently revealed that the United States Department of
Justice is conducting a criminal investigation into the Processed Egg Products
industry. In July 2008, Golden Oval made the following disclosure in its form

10Q it filed with the SEC:

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On March 27, 2008, we received a subpoena from the U.S.
Department of Justice, through the U.S. Attorney for the
Eastern District of Pennsylvania, requesting documents for
the period of January l, 2002 through March 27, 2008
relating primarily to the pricing, marketing, and sales of our
egg products We intend to fully cooperate with the
Department of Justice request. We cannot predict what, if
any, impact this inquiry and any results from this inquiry
could have on our current or future operations or results of
operations

20. In May 2008, Michael Foods also disclosed in its lOQ that it, along
with a subsidiary, had received subpoenas from the U.S. Department of Justice
requesting documents for the period of January l, 2002 through March 27, 2008
relating to “pricing, marketing, and sales of our egg products.”

21. Separately, defendant MoArk also confirmed that it had received a
subpoena in connection with the DOJ’s investigation

CLASS ACTION ALLEGATIONS

22. Plaintiff brings this action on behalf of itself and as a class action
under the provisions of Rule 23(a) and (b)(2) & (b)(3) of the Federal Rules of
Civil Procedure on behalf of all members of the following class:

All persons (excluding governmental entities,
defendants, co-conspirators, other sellers or providers
of Processed Egg Products, and the present and former
parents, predecessors, subsidiaries and affiliates of the
foregoing) who purchased Processed Egg Products
directly from any of the defendants, or any present or
former parent, subsidiary or affiliate thereof, at any

time during the period from at least January l, 2002
through May 31, 2008,

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23. Plaintiff believes that there are hundreds or thousands of class
members as above described, the exact number and their identities being known
by defendants.

24. The class is so numerous and geographically dispersed that joinder
of all members is impracticable

25. There are questions of law and fact common to the class, which
questions relate to the existence of the conspiracy alleged, and the type and
common pattern of injury sustained as a result thereof, including, but not limited
to:

a. Whether defendants engaged in a combination and conspiracy
among themselves to allocate the market for or engage in other anticompetitive
conduct concerning Processed Egg Products

b. The identity of the participants in the conspiracy;

c. The duration of the conspiracy alleged in this complaint and
the nature and character of the acts performed by defendants in furtherance of the
conspiracy;

d. Whether the alleged conspiracy violated Section l of the
Sherman Act;

e. Whether the conduct of defendants, as alleged in this
complaint, caused injury to the business and property of Plaintiff and other

members of the class;

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f. The effect of defendants’ conspiracy on the prices of
Processed Egg Products sold during the Class Period; and
g. The appropriate measure of damages sustained by Plaintiff
and other members of the class
26. Plaintiff is a member of the class, Plaintiff’ s claims are typical of the
claims of the class members, and Plaintiff will fairly and adequately protect the
interests of the members of the class
27. Plaintiff will fairly and adequately assert and protect the interests of
the class.
28. Plaintiff’s interests are coincident with and not antagonistic to those
of the other members of the class
29. Plaintiff is represented by counsel who is competent and experienced
in the prosecution of antitrust and class action litigation.
30. A class action provides a fair and efficient method for the
adjudication of the controversy for the following reasons
31. The prosecution of separate actions by individual members of the
class would create a risk of inconsistent or varying adjudications
32. Defendants have acted, and refused to act, on grounds generally
applicable to the class, thereby making appropriate final injunctive relief with

respect to the class as a whole.

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33. The questions of law and fact common to the members of the class
predominate over any questions affecting only individual members including
legal and factual issues relating to liability and damages

34. A class action is superior to other available methods for the fair and
efficient adjudication of this controversy. Such treatment will permit a large
number of similarly-situated persons to prosecute their common claims in a single
forum simultaneously, efficiently, and without the duplication of effort and
expense that numerous individual actions would require. Class treatment will also
permit the adjudication of relatively small claims by many class members who
could not afford individually to litigate an antitrust claim such as that asserted
herein. There are no difficulties likely to be encountered in the management of
this class action that Would preclude its maintenance as a class action and no
superior alternative exists for the fair and efficient adjudication of this controversy
on behalf of Plaintiff and the members of the Class

TRADE AND COMMERCE

35. The activities of defendants as described in this complaint, were
within the flow of, and substantially affected, interstate commerce

36. During the time period covered by this complaint, defendants
marketed and/or sold Processed Egg products

37. Defendants and each of them, have used instrumentalities of

interstate commerce to market and/or sell Processed Egg Products

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38. Defendants have marketed and/or sold Processed Egg Products in a
continuous and uninterrupted flow of interstate commerce to customers located in
states other than the states in which defendants market and sell such services

j FRAUDULENT CONCEALMENT

` 39. Plaintiff had no knowledge of defendants’ unlawful self-concealing
conspiracy and could not have discovered the contract, combination or conspiracy
until at least May 2008 by the exercise of due diligence because of the deceptive
practices and techniques of secrecy employed by defendants to avoid detection of,
and fraudulently conceal, their contract, combination or conspiracy. In May and
June 2008, respectively, defendants Golden Oval and Michael Foods disclosed, in
quarterly filing with the Securities and Exchange Commission, that they had each
received a subpoena from the Department of Justice requesting documents for the
period of January 1, 2002 through March 27, 2008 relating, “primarily to the
pricing, marketing, and sales of our egg products.”

40. Because the contract, combination or conspiracy Was kept secret by
defendants Plaintiff was unaware of the anticompetitive conduct concerning
Processed Egg Products that were secretly agreed upon as alleged herein. It was
not until at least May 2008, that Plaintiff became aware, or could have become
aware with the exercise of reasonable diligence, of defendants’ anticompetitive

conduct.

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41. As a result of the fraudulent concealment of the conspiracy, Plaintiff
asserts the tolling of the applicable statute of limitations affecting the right of
action by Plaintiff.

_C£IMI.
Violation of Sherman Act 8 l, 15 U.S.C. § 1

42. Plaintiff incorporates by reference, as if fully set forth herein, the
allegations contained in the preceding paragraphs of this complaint.

43. Beginning at least as early as January l, 2002, the exact date being
unknown to Plaintiff and exclusively within the knowledge of defendants
defendants and their co-conspirators entered into a continuing combination or
conspiracy to unreasonably restrain trade and commerce in violation of Section l
of the Sherrnan Act (15 U.S.C. § 1) by artificially reducing or eliminating
competition in the United States for Processed Egg Products.

44. In particular, defendants have combined and conspired to raise, fix,
maintain and stabilize the prices of Processed Egg Products sold in the United
States

45. As a result of defendants’ unlawful conduct, prices for Processed
Egg Products were raised, fixed, maintained and stabilized in the United States

46. For purposes of formulating and effectuating their combination or
conspiracy, defendants and their co-conspirators did those things they combined or

conspired to do, including:

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a. Participating in meetings and conversations to discuss the
prices and supply of Processed Egg Products;
b. Communicating in writing and orally to fix prices;
c. Agreeing to manipulate the prices and supply of Processed
Egg Products sold in the United States;
d. Issuing price announcements and price quotations in
accordance with the agreements reached;
e. Selling Processed Egg Products to customers in the United
States at non-competitive prices; and
f. Providing false statements to the public to explain increased
prices for Processed Egg Products
47. As a result of Defendants’ unlawful conduct, Plaintiff and the other
members of the Class have been injured in their businesses and property in that
they have paid more for Processed Egg Products than they otherwise would have
paid in the absence of defendants’ unlawful conduct
48. As a direct and proximate result of defendants’ scheme, Plaintiff and
the members of the class have been injured and financially damaged in their
respective businesses and property, in amounts which are presently undeterrnined.
Plaintiff’s injuries consist of paying higher prices to purchase Processed Egg
Products than it would have paid absent defendants’ conduct Plaintiff’s injuries
are of the type the antitrust laws were designed to prevent and flow from that

which makes defendants’ conduct unlawful.

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REOUEST F()R RELIEF

WHEREFORE, Plaintiff requests:

A. That the Court determine that this action may be maintained as a
class action under Rule 23 of the Federal Rules of Civil Procedure.

B. That the contract, combination or conspiracy, and the acts done in
furtherance thereof by defendants be adjudged to have been in violation of
Section l of the Sherrnan Act, 15 U.S.C. § 1.

C. That judgment be entered for Plaintiff and members of the class
against defendants for three times the amount of damages sustained by Plaintiff
and the class as allowed by law, together with the costs of this action, including
reasonable attorneys’ fees

D. That defendants their affiliates successors transferees assignees
and the officers directors partners agents and employees thereof, and all other
persons acting or claiming to act on their behalf, be permanently enjoined and
restrained from, continuing to engage in the anticompetitive conduct described
herein,

E. That Plaintiff and members of the class have such other, further and
different relief as the case may require and the Court may deem just and proper
under the circumstances

Jury Trial Demand
Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of all of

the claims asserted in this complaint so triable.

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DATED: Septernber 24, 2008 Respectfully submitted,
LOCKRIDGE GRINDAL NAUEN P.L.L.P.

Bv:
W. Joseph Bruckner (#147758)
Heidi M. Silton (#25759X)
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113 559
G P UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

2 1"§
T.K. RIBBING’S FAMILY RESTAURANT 15 " V l
153 WEST MAIN ST. CIVIL ACTIONW NO.{;
FALCONER, NY 14733

COMPLAINT - CLASS ACTION
On Behalf of Itself and All

Others Similarly Situated, JURY TRIAL DEMANDED
Plaintiff,
v.
UNITED EGG PRODUCERS, INC.
1720 WINDWARD CONCOURSE, #230
ALPHARETTA, GA 30005 .‘ v _ .
v ` g give w

UNITED EGG ASSOCIATION
1720 WINDWARD CONCOURSE, #230
ALPHARETTA, GA 30005

UNITED STATES EGG MARKETERS, INC.
1720 WINDWARD CONCOURSE, #230
ALPHARETTA, GA 30005

CAL-MAINE FOODS, INC.
3320 WOODROW WILSON AVE
JACKSON, MS 39207

HILLANDALE FARMS OF PA., INC.
3RD & CROOKED RUN ROAD
NORTH VERSAILLES, PA 15137

DAYBREAK FOODS, INC.
533 TYRANENA PARK ROAD
PO BOX 800

LAKE MILLS, WI 53551

GOLDEN OVAL EGGS, LLC
1800 PARK AVE. EAST
RENVILLE, MN 56284

MICHAEL FOODS, INC.
301 CARLSON PKWY., STE. 400
MINNETONKA, MN 55305

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MICHAEL FOODS EGG PRODUCTS CO.
301 CARLSON PKWY., STE. 400
MINNETONKA, MN 55305

MIDWEST POULTRY SERVICES, L.P.
9951 WEST STATE RD 25
MENTONE, IN 46539

MOARK LLC
181 l MOUNTAIN AVE.
NORCO, CA 92860

NORCO RANCH, INC.
1811 MOUNTAIN AVE
NORCO, CA 92860

NATIONAL FOOD CORP.
1930 MERRILL CREEK PKWY #A
EVERETT, WA 98203

NUCAL FOODS, INC.
720 S STOCKTON AVE
RIPON, CA 95366

ROSE ACRE FARMS, INC.
6874 N BASE RD
SEYMOUR, IN 47274

PILGRIM’S PRIDE CORP.,
4845 US HIGHWAY 271 N
PITTSBURG, TX 75686

Defendants

`»/VVVVVVVV`»/\-/VV`/V`/VVVVVVVVVVVVVVVVVV

 

CLASS ACTION COMPLAINT
Plaintiff, T.K. Ribbings Restaurant, on behalf of itself and all others similarly situated, by
its undersigned attomeys, bring this action for treble damages and injunctive relief, as well as
attomeys’ fees and costs under the antitrust laws of the United States against the defendants

named herein, and upon information and belief, and in connection therewith allege as follows:

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NATURE OF THE CASE

l. This action is brought as a class action pursuant to Rules 23(a), (b)(2) and (b)(3)
of the Federal Rules of Civil Procedure on behalf of the plaintiff class consisting of all persons
and entities who purchased “shell eggs” or “egg products” produced from caged birds
(collectively referred to herein as “eggs”) directly from any of the defendants or any of their co-
conspirators during the period from January l, 2000, through the present (the “Class Period”).

2. Since at least 2000 and continuing to the present, the United Egg Producers
(“UEP”), the largest egg trade organization in the United States (representing approximately 96
percent of domestic egg producers), its members and nonmember co-conspirators (collectively
“the cartel”) have combined and conspired to fix, raise, maintain and stabilize the prices at which
eggs were sold in the United States during the Class Period. The aim of defendants’ conspiracy
was to conduct a supply control campaign designed to reduce output and artificially fix and
inflate the price of eggs in violation of Section 1 of the Sherrnan Antitrust Act, 15 U.S.C. § l.
Because of defendants’ unlawful conduct, plaintiff and the other class members were injured and
paid artificially inflated prices for eggs purchased from defendants during the Class Period.

3. Defendants combined and conspired to collectively reduce the supply of eggs
available for sale in the United States during a time of increased demand, which allowed
defendants to drastically increase the price of eggs from 2000 to record highs by 2007 and into
2008. Further, as a result of their conspiracy, defendants have realized record profits

4. During the Class Period, defendants conspired to, and did reduce and constrain
the supply of eggs in at least the following seven ways:

(a) agreeing to reduce the total number of hens at laying farms by increasing

cage space, but agreeing not to replace hens lost through the increases

 

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(a) agreeing to manipulate the molting of hens to keep egg production low;
(b) agreeing to delay or reduce chick hatching;

(c) agreeing to reduce inventory and/or to not expand operations

(d) agreeing to restrain output in the United States;

(e) manipulating the export of eggs to reduce supply; and

(f) fixing prices through a horizontal agreement to restrain output

5. These coordinated efforts by defendants reduced the supply of eggs which
allowed for the meteoric rise of egg prices over the last several years and permitted those prices
to remain at supracompetitive levels throughout the Class Period.

JURISDICTION AND VENUE

6. Plaintiff brings this action under Sections 4 and 16 of the Clayton Act, 15 U.S.C.
§§ 15 and 26, for treble damages and injunctive relief, as well as reasonable attorneys’ fees and
costs with respect to the injuries sustained by plaintiff and the members of the Class arising
from violations of Section l of the Sherrnan Antitrust Act, 15 U.S.C. § l. This Court has
jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331 and l337(a) and
15 U.S.C. §§ 15 and 26.

7. The defendants are trade groups their members and co-conspirators. These
entities are involved in the promotion, production, processing, and/or sale of shell eggs and egg
products in interstate commerce The defendants’ activities in the promotion, production,
processing, and/or sale of shell eggs and egg products affect interstate commerce.

8. Venue is proper in this District pursuant to 15 U.S.C. § 22 and 28 U.S.C. §§

l39l(b) and (c), because during the Class Period many of the defendants resided, transacted

 

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business were found, or had agents in this district and because a substantial portion of the
affected interstate trade and commerce described below has been carried out in this district
THE PARTIES

A. PLAINTIFF

9. Plaintiff T.K. Ribbing’s Family Restaurant is a New York corporation with its
principal place business located in Falconer, New York. During the Class Period, Plaintiff
purchased egg products directly from one or more of the defendants

B. DEFENDANTS

10. Defendant United Egg Producers lnc. (“UEP”) is a cooperative corporation
organized, existing, and doing business under the laws of the State of Maine with its office and
principal place of business in Alpharetta, Georgia.

ll. Defendant United Egg Association (“UEA”) is a nonprofit corporation organized,
existing, and doing business under the laws of the District of Columbia, with its offices and
principal place of business located in Alpharetta, Georgia.

12. Defendant United States Egg Marketers, Inc. (“USEM”) is a nonprofit corporation
organized, existing, and doing business under the laws of the State of Georgia, with its offices
and principal place of business located in Alpharetta, Georgia.

13. Defendant Cal-Maine Foods Inc. (“Cal-Maine”) is a corporation organized,
existing, and doing business under the laws of the State of Delaware, With its offices and
principal place of business located in Jackson, Mississippi. During the Class Period, Cal-Maine
sold eggs to purchasers in the United States including members of the class.

14. Defendant Hillandale Farms of PA., Inc. (“Hillandale”) is a corporation

organized, existing, and doing business under the laws of the state of Pennsylvania, with its

 

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offices and principal place of business located in North Versailles, Pennsylvania. During the
Class Period, Hillandale sold eggs to purchasers in the United States including members of the
class

15. Defendant Daybreak Foods Inc. (“Daybreak Foods”) is a corporation organized,
existing, and doing business under the laws of the State of Wisconsin with its offices and
principal place of business located in Lake Mills, Wisconsin. During the Class Period, Daybreak
Foods sold eggs to purchasers in the United States including members of the class

16. Defendant Golden Oval Eggs, LLC (“Golden Oval Eggs”) is a limited liability
company organized, existing, and doing business under the laws of the State of Delaware with its
offices and principal place of business located in Rennville, Minnesota. During the Class Period,
Golden Oval Eggs sold eggs to purchasers in the United States including members of the class

17. Defendant Michael Foods Inc. (“Michael Foods”) is a corporation organized,
existing, and doing business under the laws of the State of Delaware, with its offices and
principal place of business located in Minnetonka, Minnesota During the Class Period, Michael
Foods sold eggs to purchasers in the United States including members of the class

18. Defendant Michael Foods Egg Products Co. (“Michael Foods Egg Products”) is a
corporation organized, existing, and doing business under the laws of the State of Delaware, with
its offices and principal place of business located in Minnetonka, Minnesota. During the Class
Period, Michael Foods Egg Products sold eggs to purchasers in the United States including
members of the class

19. Defendant Midwest Poultry Services, L.P. (“Midwest Poultry Services”) is a

limited partnership organized, existing, and doing business under the laws of the State of

Indiana, with its offices and principal place of business located in Mentone, Indiana. During the

 

 

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Class Period, Midwest Poultry Services sold eggs to purchasers in the United States including
members of the class

20. Defendant Moark LLC (“Moark”) is a limited liability company organized,
existing, and doing business under the laws of the State of Missouri, with its offices and principal
place of business located in Norco, California. During the Class Period, Moark sold eggs to
purchasers in the United States, including members of the class

21. Defendant Norco Ranch, Inc. (“Norco Ranch”) is a corporation organized,
existing, and doing business under the laws of the State of California, with its offices and
principal place of business located in Norco, California. During the Class Period, Norco Ranch,
sold eggs to purchasers in the United States including members of the class

22. Defendant National Food Corporation (“National Food”) is a corporation
organized, existing, and doing business under the laws of the State of Washington with its offices
and principal place of business located in Everett, Washington. During the Class Period,
National Food Corporation sold eggs to purchasers in the United States including members of
the class

23. Defendant NuCal Foods Inc. (“NuCal Foods”) is a corporation organized,
existing, and doing business under the laws of the State of California, with its offices and
principal place of business located in Ripon, California. During the Class Period, NuCal Foods
sold eggs to purchasers in the United States including members of the class

24. Defendant Rose Acre Farms, Inc. (“Rose Acre Farms”) is a corporation
organized, existing, and doing business under the laws of the State of Indiana, with its offices
and principal place of business located in Seymour, Indiana. During the Class Period, Rose Acre

F arms sold eggs to purchasers in the United States including members of the class.

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25. Defendants Pilgrim’s Pride Corp. (“Pilgrim’s Pride”) is a corporation organized,
existing, and doing business under the laws of the State of Delaware, with its offices and
principal place of business located in Pittsburg, Texas. During the Class Period, Pilgrim’s Pride
Corp. sold eggs to purchasers in the United States including members of the class

26. The acts charged in this Complaint have been done by the aforesaid defendants
and were ordered and performed by the aforesaid defendants’ officers directors agents
employees or representatives while actively engaged in the management, direction, control or
transaction of said defendants’ business or affairs

UNNAMED CO-CONSPIRATORS

27. Various individuals partnerships corporations and associations not named as
defendants in this Complaint have participated as co-conspirators in the violations of law alleged
herein and have performed acts and made statements in furtherance thereof. The identity of all
co-conspirators is unknown at this time and will require discovery.

28. At all relevant times cage producers egg trade groups egg farm software
companies or other entities referred to herein as “co-conspirators,” as Well as various other
persons companies and corporations the identities of which are presently unknown, willingly
conspired with Defendants in their unlawful restraint of trade as described herein.

29. The acts alleged herein that were done by each of the co-conspirators were fully
authorized by each of those co-conspirators or ordered, or done by duly authorized officers
managers agents employees or representatives of each co-conspirator while actively engaged in
the management, direction, or control of its affairs

30. All averments herein against any named Defendant are also averred against these

unnamed co-conspirators as though set forth at length.

 

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CLASS ACTION ALLEGATIONS
31. Plaintiff brings this action pursuant to Rules 23(a), (b)(2) and (b)(3) of the Federal
Rules of Civil Procedure on behalf of the following plaintiff Class:
All individuals and entities that purchased “shell eggs” or “egg
products” produced from caged birds in the United States directly
from defendants or their co-conspirators during the Class Period
from January 1, 2000 through the present Excluded from the
Class are the defendants their co-conspirators, and their respective
parents subsidiaries and affiliates as Well as any government
entities
32. The Class is so numerous that joinder of all members thereof is impracticable
Indeed, plaintiff avers on information and belief, that during the Class Period, thousands of
persons and entities located throughout the United States purchased these eggs from the
defendants
33. Plaintiff"s claims are typical of the claims of the members of the Class because
plaintiff and all Class members were damaged by the same wrongful conduct of the defendants
and their co-conspirators as alleged in this Complaint
34. Plaintiff will fairly and adequately protect the interests of the Class The interests
of plaintiff are coincidental with, and not antagonistic to, those of other members of the Class In
addition, plaintiff is represented by counsel experienced and competent in the prosecution of
complex class action and antitrust litigation
35. There are questions of law and fact common to plaintiff and members of the Class

and those common questions predominate over any questions which may affect only individual

members of the Class because defendants have acted on grounds generally applicable to the

entire Class Among the predominant questions of law and fact common to the Class are:

 

 

 

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(a)

(b)

(C)

(d)

(e)

(0

(a)

Whether the defendants and their co-conspirators engaged in a
combination or conspiracy to raise, fix and maintain prices of eggs sold in
the United States;

The duration and extent of the combination or conspiracy alleged herein;
Whether the defendants and their co-conspirators were participants in the
combination or conspiracy alleged herein;

Whether the alleged combination or conspiracy violated Section l of the
Sherrnan Act;

The effect of the combination or conspiracy upon the prices of eggs sold
in the United States during the Class Period;

Whether the conduct of the defendants and their co-conspirators, as
alleged in this Complaint, caused injury to the business or property of
plaintiff and the other members of the Class; and

The appropriate measure of damages sustained by plaintiff and other

members of the Class

36. Class action treatment is superior to the alternatives if any, for the fair and

efficient adjudication of the controversy alleged herein, Such treatment will permit a large

number of similarly-situated persons to prosecute their common claims in a single forum

simultaneously, efficiently and without the duplication of effort and expense that numerous

individual actions would engender. Class treatment will also permit the adjudication of

relatively small claims by many class members who could not afford individually to litigate an

antitrust claim such as that asserted herein. There are no difficulties likely to be encountered in

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the management of this class action that would preclude its maintenance as a class action and no
better alternative exists for the fair and efficient adjudication of this controversy.
CONCEALMENT AND TOLLING

37. Throughout the relevant period, Defendants have affirmatively concealed from
Plaintiff and class members the unlawful combination, conspiracy and agreement among
Defendants alleged herein. Upon information and belief, Defendants planned and implemented
the conspiracy during non-public meetings monitored and enforced the conspiracy through non-
public means agreed not to discuss or disclose the details of their conspiracy, and falsely
represented to Plaintiff and class members that the prices they paid for eggs were fair and
competitive.

38. Defendants and their co-conspirators conducted their conspiracy in secret and
kept it mostly within the confines of their higher-level executives

39. Plaintiff did not discover, and could not have discovered through the exercise of
reasonable diligence, which they exercised, the unlawful conduct alleged herein at the time it
occurred,

FACTUAL BACKGROUND
A. EGG PRODUCTION, TRADE AND COMMERCE
l. The Domestic Egg Market
l 40. Egg consumption can be divided into two sectors -the “shell egg” sector and the
1 “egg products” (including “liquid eggs”) sector.l
41. The shell egg sector produces “table eggs” for immediate consumption Shell

eggs are eggs generally purchased by grocery stores in cartons for resale to the consuming

 

' U.S. lnt’l Trade Comm., Industry & Trade Egg Summary l (Dec. 1999).

ll

 

 

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public. Shell eggs are also purchased by entities such as restaurants and hotels2 The shell egg
sector produces breaking eggs for the “egg products” sector.

42. Of the 211.1 million cases (estimated) of shell eggs produced in 2007: 66 million
cases (31.3%) were further processed (for foodservice, manufacturing, retail and export); 124.6
million cases (59%) went on to retail; 19 million cases (9%) went for foodservices use; and 1.5
million (.7%) were exported.

43. The egg products sector produces eggs that have been removed from their shells
and processed for convenience into dried, frozen or liquid forms Processing eggs involves
breaking, filtering, mixing, stabilizing, blending, pasteurizing, cooling, freezing or drying, and
packaging The primary purchasers of egg products are the food manufacturing or foodservices
industries

44. In the commercial food manufacturing industry, egg products are often used as an
ingredient in baked goods or items such as mayonnaise, pasta, and salad dressings. Foodservice
industry operators such as fast food chains restaurants, hospitals and nursing homes use egg
products for convenience and ease of handling and because egg products are pasteurized and thus
ensure a high level of food safety.

45. The production, processing, packaging and distribution of shell eggs and egg
products constitute and affect interstate trade and commerce

46. The value of all egg production in 2007 was $6.68 billion, up 51 percent from

$4.43 billion in 2006.3

 

2
Id.
See M://WWW.Doultr\/egg.org/economic data/

12

 

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2. Domestic Egg Production

47. The egg industry is largely vertically integrated and egg producers have a
tremendous amount of control over their products The egg industry is distinctly different from
many other animal industries in that egg producers often own and manage nearly every aspect of
their business (e.g. , rearing of birds feeding, housing, husbandry, and marketing of their
product) and meticulously oversee the entire process4

48. If it is not a fully integrated operation, some egg producers purchase their layer
stock (i.e., day old leghorn chicks) from an egg-type hatchery. Hatcheries deliver chicks to the
producer within one to two days of hatching. At arrival, chicks are either placed in typical layer
pens or reared in a pullet house.5

49. Pullet is the term given to young female chickens that will become egg-laying
hens when they are sexually mature6

50. Caged shell egg producers raise their pullets in cages for ease of production and to
provide a barrier to separate them from their feces. These pullets are reared on short days in
light controlled houses usually on a program of 8 hours of light and 16 hours of darkness
(8L:16D) until around 18 weeks of age to allow for adequate skeletal growth before the onset of
egg laying. These pullets are also fed limited amounts of feed to prevent them from
accumulating excess body fat before egg production starts7

51. Daily light exposure begins to increase at Week 16 to at least 14 hours (14L:10D).

This increase in light exposure triggers hens to begin laying eggs which occurs about two weeks

 

4 Ryan A. Meunier and Dr. Mickey A. Latour, “Commercial Egg Production and

Processing.”
5 rd

6 Commercial Pullets and Layers - Poultry Study Guide UC Davis.

7 ld.

 

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after light stimulation. In tandem with light manipulation, the diet is also altered in order to
support egg production,g

52. When a flock (group of layer hens) first enters egg production, the rate of egg lay
is generally around 10 to 20 percent Thus, approximately 10 to 20 percent of the hens are laying
eggs at 18 to 22 weeks of age. The flock quickly reaches peak egg production (90 plus percent)
around 30 to 32 weeks of age. Post-peak egg production (after 30 to 32 weeks of age)
continually decreases to approximately 50 percent around 60 to 70 weeks of age9

53. When the flock declines to around 50 percent production, producers may decide
to molt the flock in order to achieve a higher level of egg production or to dispose of the birds
Molting stops egg production while the chickens are growing new feathers A molt takes about 8
weeks to complete10 In a competitive egg market, molting is generally dictated by current egg
prices and the availability of replacement pullets.

54. ln wild birds molting is a natural seasonal event in which birds substantially
reduce their feed intake, cease egg production, and replace their plumage. Induced molting for
layer hens is a process that attempts to simulate natural molting events To induce molting,
producers may reduce light simulation (artificial day length) and impose dietary feed restrictions
(including limiting food and water or providing diets of low nutrient density) that result in
cessation of egg production.

55 . After a molt, the flock will again increase egg production. Post-molt egg
production will increase such that peak egg production in the flock reaches about 80 percent
Peak production following a molt is short-lived and the flock generally returns to 50 percent

production by 100 to 110 weeks of age. Once flock egg production falls below fifty percent an

 

Id.; see also n.3 supra.

n.3 supra.
° ld.

14

 

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economic decision is made whether to molt the birds for a second time or to “depopulate” the
building.

56. “Spent hen” is the term given to egg-laying hens who are no longer able to
perform at the desired level of production, Two primary methods are used to depopulate and
dispose of spent hens Hens are either killed on site or transported to a processing facility where
they are processed into low-quality meat by~products or livestock feed.

57. The majority of hens are between 100 and 130 weeks of age when they reach the
end of their egg production cycle. Hens may be molted a second time and then disposed of
(approximately 120 to 130 weeks of age) or disposed of following peak production after the first
molt (approximately 100 to 110 weeks of age).ll

58. Eggs are collected on nylon belts and sent to a storage cooler or egg processing
center. Eggs generally arrive at the egg processing center within 12 to 14 hours post-lay where
they are washed, inspected (checked for eggshell problems cracks and blood spots), and then
graded for packaging Following packaging, eggs are moved to a cooler room where they await
shipment to retail outlets Egg producers commonly deliver eggs to purchasers within one week
Ofiay.12

59. The vast majority of eggs are produced from chickens that are raised their entire
lives in cages With non-organic feed.

60. USDA Organic eggs are produced by hens fed a 100 percent organic diet,

containing no hormones or animal by-products. Organic hens must have some access to the

outdoors.

 

 

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61. Approximately 5 percent of the country’s egg-laying hens are allowed to roam
“cage free” rather than being placed in cages. “Free-range” hens also have access to the
outdoors.

62. Organic, free-range, and cage-free eggs are referred to as “specialty eggs” and are
not the subject of this lawsuit

3. Egg Supply Determines Prices and Profits

63. The chicken egg industry has been subject to price fluctuations Further, the size
of the nation’s laying flock has also varied in the past few decades with a noticeable effect on
price. Although the national laying flock steadily decreased from 317 million in 1967 to 290
million in 1983 and to 258 million in 1998, the production level increased over the years from
170.5 billion cases in 1984 to an estimated 192.5 billion in 1999. ln 1993, large eggs sold for 76
cents per dozen, but in 1996, prices increased dramatically to a record average high around 90
cents per dozen. By 1998, the price was back down to 78 cents

64. In the mid to late l990s, egg farmers attempted to influence future pricing by
slowing the rate of increase of the hatching egg flock, thus reducing production, The flock grew
by only a fraction of a percent in 1995 and only 1 percent in 1996, compared with a 6 percent
growth rate in 1991. Therefore, prices rose in late 1995 and remained strong throughout 1996.13

65. Although annual per capita egg consumption fell substantially throughout the
19803 and early 199OS (from 275 in 1980 to 225 in 1992), it rose to 245 eggs in 1998, By 2005,
annual U.S. per capita egg consumption had reached about 255 eggs The United States
produced almost 77 billion table eggs in 2005.

66. The large majority of the U.S. table-egg production is consumed domestically.

 

13 “Chicken Eggs - Industry and Marketing Report,” Goliath (updated Mar. 27, 2008).

16

 

 

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67. Egg products consumption has also continued to increase For example, 76.5
million cases of eggs were used in the manufacture of liquid, frozen, or dried egg products in
2004, compared to 53 million cases in 1997.14

68. The egg industry is dominated by a few major players In recent years the
tendency toward huge egg factories has become even more pronounced. By the mid-2000s 64
egg-producing companies had more than l million layers ll of those had more than 5 million
layers Today, the largest egg producer, marketer in the country, defendant Cal-Maine Foods
has over 26 million layers

69. In the past twenty years the egg industry has become increasingly consolidated.
In 1987 there were approximately 2,500 egg producing operations today there are fewer than
250 producers who own 95 percent of the U.S. laying flock, Approximately 60 companies own
80 percent of the U.S. egg laying flock,

70. The single greatest influence on egg price is supply.15 Even very small reductions
in production can cause egg prices to rise sharply. For example, in early 2007, USEM initiated
an export order for 300 container loads of eggs (approximately 246,000 cases) of eggs (less than
one-third of eggs produced daily in the U.S.) in order to drive up the domestic price for eggs by
$0.3 l/doz. This order “changed the complexion of the market in a matter of days When

producers started to fill the order shell egg producers realized a $44,000,000 pay hike.”16

 

“‘ Id.

15 Dr. David Roland, “Supply Management: The Key to Profits,” Egg Industry (June 2007).
16 John Todd, “What 2007 Has in Store: No Shortage of Challenges and Opportunities”
Egg Industry, (Jan. 2007) at l. See also “Happy & Profitable New Year: USEM Export, United
Voices” (United Egg Producers, Alpharetta, GA), Jan. 4, 2007, at 1 (“[t]he United States Egg
Marketer (USEM) members have once again voted overwhelmingly to accept a sizable export
[to] be delivered between January 8th and February 2nd. USEM now has the membership
support from producers owning approximately 139 million layers . . . With the delivery of such
large volume export, it is expected that prices will exceed UEP’s forecast It is also believed that

17

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7l. As described below, UEP and its co-conspirators have used this price sensitivity
to export eggs at a loss in order to increase the price of eggs in the future. Furthermore, these
sensitivities have allowed UEP and its co-conspirators to artificially raise and fix prices for eggs
through even small reductions in egg supply.

72. Demand for eggs is relatively inelastic - that is, consumers do not purchase fewer
eggs when prices rise. UEP member and first vice chairman, Bob Krouse (president of
defendant Midwest Poultry Services), summarizes inelastic demand in the egg market saying:
“[w]e sell as many eggs at $1.70 as we do at 65 cents.”17

73. According to Bill Rehm, UEP member of president of defendant Daybreak Foods,
substantially high egg prices do not hurt consumer demand, Rehm told Egg Industry magazine,
“I tend to think that consumers will buy eggs whether the price per dozen is 70 cents or $l .70.”18

74. An interview with American Egg Board CEO, Joanne Ivy, confirmed this price
inelasticity:

“Q: How did egg sales fare in 2007 with prices setting all-time
record highs? In other words, are egg sales vulnerable to price
changes‘?

A: According to Nielsen data, average retail prices for lZ-count
large eggs in supermarket channels increased over 20 percent from
2006 to 2007, yet most retailers continued to experience heavy
demand well after the holidays. In fact, retail demand during the
month of January was unusually high and many producers were
reporting that their sales were much higher than originally

forecasted. Clearly, consumers recognize that even with these
higher retail prices, eggs remain a great value, and that the

 

the announcement of USEM working on a sizable export may have helped hold prices at higher
levels the last week of December.”).

" Edward Clark, “Despite High reed costs, Egg Execurives Look for Prontable 2008,”
Egg Industry (Feb. 2008).

18 “Egg Executives Optimistic in 2007,” Egg Industry (February 2007)

18

 

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demand for eggs is inelastic; that is, the quantity demanded
does not change when the price changes.”19

75. Inelasticity of demand is due in large part to the fact that there are no substitutes
for eggs.20

76. Eggs are a unique product with specific characteristics including flavor, texture,
and baking attributes which are unmatched by other products. These characteristics differentiate
eggs from potential substitutes. Because of these unique qualities and characteristics, if the price
of eggs is increased, purchasers cannot switch to other products to make the price increase
unprofitable In the absence of substitutes, purchasers have little choice but to pay the asking
price.

77 . An excess of supply in the face of a relatively inelastic demand for eggs causes
egg prices to drop. As reported by Egg Industry magazine in an article titled “Supply
Management: the Key to Profits” Dr. David Roland stated, “[i]t is estimated that hundreds of
millions of dollars have been lost and will continue to be lost unless better methods of supply
management become available.”

78. As Dr. Roland noted, in an effort to restrain output, “the United Egg Producers
has promoted reducing hen numbers by emptying houses early, delaying refilling, and reducing
cage density.”21

79. As a direct result of the reduction in output of eggs, egg prices have jumped

dramatically.

 

19 Egg Industry (April 2008) (bold emphases added throughout Complaint)

20 According to the American Egg Board, there are no substitutes for eggs: “[e]ggs possess
unique nutritional properties and contribute desirable functional attributes unequaled by any
single egg altemative.” http://www.aeb.org/EggProducts/pdfs/ Functionality white paper.pdf
(“American Egg Board, Accept No Substitutes: Research Shows No Single Substitute Matches
the Functionality of Egg Product”).

21 Dr. David Roland, “Supply Management: the Key to Profits,” Egg Industry (June 2007)
(“[T]he single greatest influence on egg price and profits is egg supply[.]”)

19

 

 

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80. Egg prices were at historic highs throughout 2007 and 2008, According to the
Wall Street Journal’s MarketWatch, egg prices increased 45 percent between August 2007 and
March 2008.22

81. On February 1, 2008 an industry trade magazine likened the economic prosperity
currently enjoyed by egg producers to Greece’s Golden Age: “It seems that the egg industry may
find itself in a position of economic prosperity previously unmatched in its long, tumultuous
history. [ ] Egg prices have soared at historic highs through months in which producers usually
hold on for dear life.”23

82. In March of 2008, USDA economist David Harvey told MarketWatch that egg
prices typically decline at the end of March after the Easter holiday, but had not this year:
“Normally, we see a decline in prices after the Easter holiday. But with the number of birds in
the laying flock continuing to be down, we may not see much of a drop.”

83. UEP’s senior vice president, Chad Gregory, acknowledged that prices were high
as a result of UEP’s conspiracy to reduce output: “Producers are being really responsible,
keeping supply in check[.] So this could last a while.”24

84. According to a March 2008 USDA Market Outlook Report, “egg prices [have]

skyrocket[ed].”25

 

22 Matt Andrejczak, “High-flying egg prices show no Egg Prices Show No Sign of

cracking,”Cracking, MarketWatch, Mar. 28, 2008 (“If you haven’t shopped for eggs lately, get
ready for some sticker-shock: A dozen eggs cost $2 or more in most U.S. cities, up about 45% in
jzust eight months.”) (only quoted material included).

3 Sam Krouse and Bob Krouse, “Infrastructure’s Role in Keeping Egg Prices High,” Egg
Industry (Feb. 2008) (Bob Krouse is the current UEP first vice chairman and a member of the
UEP board of directors). In October 2007, the publication reported that 2007 egg prices were
“one for the record books.” Edward Clark, 2007 Egg Prices: One for the Record Books - Has the
Industry Finally Leamed How Not to Overproduce?, Egg Industry, (Oct. 2007),

Id. (only quoted material included).
25 Mildred M. Haley, “Egg Prices Skyrocket,” Livestock, Dairy, and Poultry Outlook
(ERS/USDA), Mar. 2008,

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85. On March 30, 2008, the Chicago Tribune reported that prices are climbing at rates
faster than they’ve been in 30 years: “[e]gg eaters are feeling the pain of soaring chicken feed
prices, which egg producers are successfully passing down to the grocery aisle. What’s more,
the egg industry’s normal response to good times, which is to feverishly add capacity until prices
drop like a rock, hasn’t materialized That could keep supplies tight and prices high well into
2009.”26

86. On May l, 2008, U.S. Department of Agriculture Chief Economist Joseph
Glauber testified before Congress and indicated that high feed prices were not to blame for
reduced egg production: “[i]n 2007, table-egg producers cut production. The decision to reduce
production likely took place prior to the recent run-up in feed costs. In 2007, the wholesale price
for a dozen grade A large eggs in the New York market averaged $1.14 per dozen, 43 cents
higher than the previous year. The strong increase in egg prices reflected lower production and
strong domestic demand. Given the current size of the table-egg flock and the number of birds
available to add to the flock, no significant expansion in production is expected before the
second~half of 2008, Wholesale table-egg prices (New York area) averaged $1.59 per dozen in
the first-quarter, up 51 percent from the previous year.” 27

87. In May of 2008, USDA Secretary Ed Schaffer announced: “egg prices [ ] were

extremely high last year and still are seeing some increase in prices this year.”28

 

26 Mike Hughieu, “Why Egg Prices are Cracking Budgets,” chi. Trib., Mar. 23, 2008, at 1.
27 Statement of Joseph Glauber, Chief Economist, Before the Joint Economic Committee,
U. S. Congress (May 1,2008).

Transcript of USDA Officials Briefing with Reporters on the Case for Food and Fuel
(May 19, 2008) (N 0 0130. 08) (“'I`here you can see some of the major components that have
contributed to this increase. Certainly because of the high wheat prices that we’ve seen globally,
cereal and bakery products are up considerably; fats and oils, vegetable oils have been very high;
and also egg prices which were extremely high last year and still are seeing some increase in
prices this year.”)

21

 

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88. In July of 2008, reports noted that after falling from March’s record highs, egg
prices shot up again 27 percent since mid-May again due to tightened supplies.29

89. While many egg producers have pretextually blamed high egg prices on rising
feed costs, Fred Adams, founder and chairman of defendant Cal-Maine Foods, candidly
acknowledged this was not the case and that tight supplies were the reason for high prices:

“While it makes it easier to communicate that when feed costs
are up egg prices should be up - that’s really not the case.
Eggs are up because the supply and demand is in good balance
and it’s reflecting higher prices on its own. If the supply of eggs
remains in check, or favorable to the demand side, I think we will
have minimum problems in raising prices. We have had no
reaction from the consumer or the chain store operators as to

- ,,30
price.

90. Egg producers are reaping unprecedented profits as a result of this conspiracy to
fix prices and reduce output. For example, Cal~Maine Foods has seen its quarterly profits more
than triple thanks to record high egg prices.31

91. On May 9, 2008, defendant Michael Foods, the third largest egg producer in the
U.S., reported that its first quarter net earnings for 2008 were $11.3 million, up from $4 million
from last year’s quarter.32

92. In July 2008 defendant Golden Oval Eggs reported a net income of $2.8 million
in the third fiscal quarter ended May 31 compared to a loss of $l million the previous year.”33

Golden Oval’s net income was up despite a 41 .4 decrease in pounds sold from the previous year.

The decline in pounds sold was partially “ a result of reductions in flock sizes associated with an

 

29 Jim Downing,”Wholesale egg prices take surprising Egg Prices Take Surprising Jump,”

Sacramento Bee, July 2, 2008.

30 Audio Recording: Presentation by Fred Adams for Cal-Maine Foods, Inc. Stephens
Spring Investment Conference (June 4, 2008).

3’ cal-Maine Foods, Quanerly Report (Form 10-Q) (March 1, 2008).

32 Press Release, Michael Foods Reports First Quarter Results (May 9, 2008).

33 “Golden Oval Eggs shows profit of $2.8 million for quarter,” Egg Industry (July 2008).

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increase in the amount of space allotted to each bird in compliance with animal care
guidelines[.]”

93. In June 2008 defendant Moark reported sharp increases in its 2008 first quarter
earnings “Pretax earnings in the quarter for the shell eggs division were $32.3 million, compared
to $4.2 million in earnings for the same quarter in 2007, the company reports Sales for the
quarter were 8181 million compared to, up $61 million from the first quarter of 2007.”34

94. Mark Oldenkamp, vice president, northwest operations for defendant Valley
Fresh Foods, told Egg Industry that high eggs prices were due to producers’ efforts to control
,,35

supply saying, “The industry is learning not to overproduce.

B. UEP, its Members, and Non-Members Have Conspired to Fix Prices and
Reduce Output

1. UEP’s Formation

95. UEP is the largest egg trade organization in the United States36

96. According to its October 2007 newsletter, “[i]t was armounced during UEP’s
Annual Membership Meeting that the organization’s membership was at the highest level ever
with 198 members representing 270 million hens or 96% of the nation’s total hens.”

97. In 1967 and 1968, overproduction created a glut of eggs in the market and for
eighteen months producers sold eggs at any price they could get - often below cost. UEP was
formed in 1968 after a group of egg producers got together to discuss the “disastrous price cycles

of the egg industry.”37

 

34 “Land O’ Lakes Bottom Line Shows Sharp Spike Upwards,” Egg Industry (June 2008)
35 “2007 Egg prices: One for the Record Books,” Egg Industry
36 United Egg Producers, About United Egg, History & Background,
gr7ttp://www.unitedegg.org/about historv.aspx

Id.

23

 

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98. The producers formed UEP to provide services to the egg industry, namely, “price
discovery, production and marketing information, unified industry leadership, [ ] a strong
relationship with USDA, [ ] a Washington presence, [and] strong industry promotion efforts.”3 11

99. Initially formed by five regional co-ops, in 1998 UEP amended its charter to
become a group composed of individual members farms and producers

100. Membership in the UEP is open to non-egg producers as well. UEP’s web site
states that membership is open to “owners of breeder flocks, hatcheries and started pullets, as
well as contract egg producers . . . .”

101. As such, some members if UEP are not egg producers at all. For example, M&C
Anderson Pullets, a UEP board member, raises pullets for egg farms and does not produce or sell
eggs

102. UEP produces the bi~weekly “United Voices” newsletter for its members

103. According to its website, “UEP is an alliance of five separate organizations
providing services to the egg industry.”39 The organizations are:

(a) United Egg Producers;
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(b) United Egg Association Further Processor Division;

(c) United Egg Association Allied Industry Division;41

 

38 Id. UEP’s original regional cooperative members were (1) National Egg Company; (2)

Northeast Egg Marketing Association; (3) Midwest Egg Producers; (4) Northwest Egg
Producers; (5) Southwest Egg Producers; and (6) Western Egg Company.

United Egg Producers, About United Egg, http://www.unitedegg.gg/about ue.asr)x
United Egg Producers, About United Egg: Further Processors,
http://www.unitedegg.org/about processors.aspx (“UEA Further Processors was established in
1983 as a Trade Association to represent those companies engaged in breaking & further egg
processing into egg products [] Customers include bakeries, food service establishments and
food manufacturers [ ] 44 UEA Further Processor Members Represent Over 95% of all Shell
Eggs Broken in the U.S.”)

41 United Egg Producers, About United Egg: UEA Allied,
http://www.unitedegg.org/about allied.aspx (“UEA Allied was organized in January 1995 as a

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(d) United Egg Association Producer and Packer Division;42 and
(e) United States Egg Marketers43
104. “Management for this alliance is provided by United Egg Producers”44 UEP
manages the “alliance” which includes cage manufacturers vaccine companies poultry
geneticists, manure conveyor belt manufacturers and others under the “umbrella” of the United
Egg Association.45
105. These organizations which make up UEP are not egg producers
106. The United Egg Association (“UEA”) is a nonprofit IRS 501(c)(6) organization
existing under the laws of Georgia created by UEP to “serve those of the egg industry not
qualified for United Egg Producers membership” and thus those who are explicitly not entitled to
Capper-Volstead protections46 The UEA has three divisions: (i) Further Processors (egg
breaking and liirther processing), (ii) Producers and Packers, and (iii) Allied Industries (products
services and consulting). According to its IRS Forrn 990, UEA’s “primary exempt purpose” is to
“promote, educate [and] defend issues for [the] egg industry” and lists its “exempt purpose

achievements” as follows:

 

trade association representing companies or individuals which are engaged in providing
products services consulting and/or information services to the egg industry but do not produce
eggs or engage in the processing of eggs into egg products Staff Coordinator: Gene Gregory”)
42 United Egg Producers About United Egg: Producers & Packers,
httn://www.unitedegg.org/about prodpack.aspx (“The UEA Producers/Packers organization was
organized in Septernber 1995 as a trade association to represent companies or individuals who
pack (and/or produce) eggs but do not qualify for membership in a Capper-Volstead
Cooperative. Staff Coordinator: Chad Gregory”).
43 United Egg Producers About United Egg: US Egg Marketers
http://Www.unitedegrz.org/about marketer.aspx (“A producer cooperative established
specifically for the purpose of exporting large quantities of U.S. Shell Eggs.”)
4 United Egg Producers About United Egg, h ://www.unitede .or about ue.as x
United Egg Producers About United Egg: History & Background,
http://www.unitedegg.org/about historv.aspx (“United Egg is the umbrella or unified voice for
3611 egg industry related issues and topics.”).

Id.

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(a) Further Processors - To enable concerns [and] competiteness [sic] of the
further processor egg industry to be fairly represented. Client newsletters
distributed, related issues updated, [and] information gathered

(b) Producer Packers - To enable egg producers that are packers to have a
viable [and] competitive industry. Member newsletters distributed
Inforrnation and trends updated [and] issues addressed

(c) Allied - To enable members customers [and] businesses associated With
the egg industry to have a viable business Industry newsletters
distributed.‘”

107. UEP’s annual meetings are held in conjunction with the UEA’s meetings48

108. One of the groups making up the UEP is the United States Egg Marketers, Inc.
(“USEM”). USEM is a nonprofit corporation existing under the laws of the State of Georgia that
negotiates egg export sales49

109. UEP, UEA and USEM all share the same address at 1720 Windward Concourse
#230, Alpharetta, Georgia 30005.

110. The top executives of the UEP, as well as the UEA and the USEM, are not egg

producers

 

47 United Egg Association, Tax Retum, (Form 990), at 3 (2006).

48 John Todd, “On the Road: UEP Debates Supply Management at Annual Meeting,” Egg
Industry, (Jan. 2007) (“The United Egg Association, Allied (UEA) Annual Meeting was held in
conjunction with the UEP meeting in San Antonio. UEA now has 61 member companies
Representatives from these companies also attended the UEP Committee and Board meetings
Officers for 2007 were elected as follows: J im DeBleyker, Chairrnan, Big Dutchman Co.; Andy
Long, Vice Chairman, Biornune Co.; Brad Brown, Secretary, Dolco Packaging; Mark Dutt,
Treasurer, Pactiv; and Del Farrer, EggPac Chairman, Henning Construction.”)

49 Statement of the United Egg Producers: Before the Subcomm. On Livestock, Dairy, and
Poultry of the H. Comm. on Agriculture, l 10th Cong.(2007) (statement of Gene Gregory,
President, United Egg Producers).

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111. Gene Gregory is the president and chief executive officer of UEP. Gregory began
his tenure with UEP in 1981 when he was appointed chairman of the animal welfare committee
and began developing an industry code of good management practices and a producer
certification program.50 Gregory became Member Services Director for the Midwest region the
following year. Gregory is also president of the UEA and the USEM and treasurer of the United
Egg Association Political Action Committee.

112. Gene Gregory’s son, Chad Gregory, is senior vice president of UEP and the UEA.

113. Neither Gene nor Chad Gregory are egg producers

114. UEP is governed by a board of three to fifty directors who are elected annually.
Sorne, but not all, members of UEP’s board of directors are affiliated with companies that
produce eggs Some UEP member companies are merely processors or distributors and are not
engaged in egg production as producers

115. There is substantial overlap in leadership personnel between UEP and the UEA.
Gene Gregory is president of all three entities and has directed, participated in, and authorized
UEP’s unlawful conduct. This participation includes Gregory’s attendance at numerous
meetings with UEP, UEA and USEM and other participants in the conspiracy, Further, Gregory
has written numerous articles in “United Voices” urging egg industry output restrictions

116. UEP and UEA share staff and UEA has provided financial support for many of
UEP’s projects including those related to the output restriction scheme.

2. UEP is not a Marketing Cooperative.

117. UEP holds itself out as “federated Capper-Volstead Agriculture Cooperative” yet

it does not engage in any of the functions enumerated under the Capper-Volstead Act. UEP does

not grow, harvest, ship, sell, bargain or compete for the sale of any agricultural products

 

5° ld.

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118. UEP merely serves as an egg trade group and a forum for a price fixing agreement
and a supply management scheme. These activities fall outside the legitimate objectives of an
agricultural marketing co-op.

119. Many UEP members are vertically integrated from the point of production
through final marketing. These vertically integrated firms mill their own feed, hatch chicks rear
pullets, confine hens produce and/or purchase eggs wash, candle, grade, store, market, transport
and distribute their own eggs

120. UEP members are competitors rather than small farmers handing together to cut
out the corporate middlemen who would otherwise market their eggs UEP members do not
associate to collectively process handle and market their products and UEP does not provide
those services

121. UEP does not wash, candle, grade, break, pasteurize, package, store, transport, or
distribute its members’ eggs

122. UEP does not negotiate contracts of sale for its members

123. UEP has previously declared that it did not sell eggs to consumers51

124. UEP does not “market” its members’ products Rather, as set forth in their
promotional materials publications web sites and numerous public statements UEP was
founded for the express purpose of providing “services to the industry” and created the United
Egg “Alliance” to “provide service to and represent the interests of all sectors of the egg

industry[.]”52

 

51 National Advertising Division of the Council of Better Business Bureaus Case Report,

“In the Matter of United Egg Producers Inc. Animal Care Certified Eggs” Case '#4108 (Nov. 6,
2003) at 4.

52 United Egg Producers Member Booklet, at 1, 7 (emphasis added) (“Concerned with the
disastrous price cycles of the egg industry and with no unified voice to address industry issues a
group of producers met in the fall of 1968 to discuss the formation of an organization that could

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125. In implementing the output restriction scheme discussed herein, UEP has
conspired with non-member co-conspirators who are not engaged in egg production. For
example, UEP has conspired with UEA and USEM to implement its unlawful supply control
campaign at industry meetings UEP has also conspired with non-member cage manufacturers
and other entities involved in egg production that are not agricultural producers

126. Cage manufacturer representatives and other non-member co-conspirators were
often invited to UEP meetings where supply management issues were discussed to provide input
and support for the UEP certified supply restriction scheme. Moreover, cage manufacturers held
numerous leadership positions in the UEA.

127. Not all of UEP’s members are engaged in the production of eggs and UEP
membership is open to non-egg producers Some UEP members process other members’ eggs or
raise breeder flocks or started pullets.

128. A number of UEP members market eggs produced under production contracts
with growers who possess their own egg-production facilities Thus, some of these members do
not produce a majority of the eggs they market, but merely act as conduits for other producers’
eggs

129. ln February of 2007, UEP newsletter discussed the fact that the organization
considered forming a “supply-managed cooperative” that might have some protection under the
Capper-Volstead Act (an implicit, if not explicit acknowledgement, that the present incarnation
of UEP did not have such protections). The newsletter stated:

“Potato Cooperative: Speaking for the United Potato Growers
Wright and Wilson stated that potato growers have experienced

 

provide the needed industry leadership. Their vision was to establish an organization that could
provide the following services to the industry. . .. In order to provide service to and represent the
interests of all sectors of the egg industry, UEP created the United Egg Association and all its
divisions.”).

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similar supply demand problems of those of egg producers with
supply often exceeding demand They stated that the entire
industry was running out of control with excess farm production
and excess processing capacity while also finding consumers
purchasing fewer potatoes Each year for a three-year period of
2002 - 2004 growers were producing 1.3 billion pounds of
potatoes no consumer or processor wanted or needed The entire
industry completely ignored the facts and just kept doing business
as usual with growers and shippers thinking that the “last man
standing” was the only option. By March 2005 a national Capper
Volstead cooperative had been formed and now represents 70% of
all fresh potatoes grown in America. With costs to grow 100
pounds of potatoes in ldaho being approximately $6.00, Idaho
farmers had seen revenues drop from $8.21 in 2001 to $2.52 in
2004. Under cooperative supply management, things began to
turnaround and revenues reached $6.67 in 2005.

“Despite recent extremely good egg prices, the egg industry has

a history of being unable to control supply and thereby
suffering though difficult periods of severe financial losses

With this in mindz the idea of a supply-managed cooperative
similar to the United Potato Growers was referred to UEP’s

Long Range Plan__ning Committee for cons_i¢_J_eLation.”
3. UEP’s Supply Control Conspiracy
130. UEP has been attempting to conspire with its members and other non-members to

restrict egg supply and artificially fix prices since its inception. For example, one of its first
strategies was to publish a booklet for agricultural lenders advising bankers not to lend money to
egg producers seeking loans to increase their flocks unless the borrower could first prove that a
market existed for the expanded production. According to an article titled “Please don’t lend to
us,” in Banking, “The strong suggestion is that the bank or other lending institution shouldn’t
lend a producer money to increase his flock unless the borrower can prove that he has a market,

or as the egg men call it a ‘home’ for his increased production. [ ] United Egg Producers hopes

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that lenders will force borrowers to prove that they have a market for any larger supply before
lending to create that larger supply.”53

131. The following year, in 1969, UEP urged a voluntary surplus removal program
which was moderately successful.54 In 1970 UEP resorted to a mandatory diversion program
dubbed the “Action Now Program” to remove surplus eggs from the market.55 The program
called for producers to divert 5 percent of production into other channels for example, the
breaker market, The program was an effective stop gap measure, but the reprieve did not last
long. By late 1971 over-expansion and backward integration from processing to egg production
threatened the relative stability of the market.

132. In 1971, an emergency meeting was called and UEP assembled a “production
intelligence committee” to monitor and report back on production practices within the industry.56
Mike Possiter, the chairman of the new production intelligence committee, stated, “‘It is
absolutely foolish and irresponsible to allow uncontrolled expansion to continue from coast to
coast at a time when most egg producers are faced with economic bankruptcy. This new
committee plans to probe deep into who is behind this expansion and let everyone know the
names of firms and individuals responsible[.]”’57

133. UEP’s goals of reducing output in the egg industry to artificially fix and raise

prices established at the group’s inception, have continued to today. While previous attempts to

fix and raise prices through supply restrictions have been moderately successful, starting in 1999

 

53 Please bona Lend co Us, Banking (1968).
54 “United Egg Producers Voluntary [sic] Diverted Carloads of Eggs,” Lancaster Farming,
Oct 2'5, 1969 (“While egg producers arejubilant over the success of the voluntary surplus
removal program, most of them insist that the ultimate solution will come when each producer
accepts his responsibility to follow planned placement practices United Egg Producers is
currently waging a vigorous information campaign along those lines . ..”).
55 “UEP Announces 5% Diversion,” Lancaster Farming, Nov 28, 1970, at l.
:: ‘;JEP to Study Egg Glut Causes,” Lancaster Farming, Dec 4, 1971 , at 23,

1 .

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and continuing to the present, UEP and its co-conspirators have undertaken a massive effort to
restrict supply which has artificially fixed and raised egg prices to historic levels throughout
2000 to the present.

134. In 1994, UEP’s long-time poultry research economist, Don Bell, calculated that
less eggs meant more income for the egg industry and that the only way to control supply would
be through “industry cooperation” and the “influence of trade associations such as UEP”:

When the USDA’s table egg layer count is compared to the price
the farmer receives for market eggs we see that for each one
million hen change, prices change in the opposite direction by
about 1 cent per dozen. When this is plotted against industry
income, a one million increase in the flock size is also associated
with a decrease in industry income of $41 million, More hens,
less income! '

The U.S. has no way to control its flock size other than through

the persuasive influence of' trade associations such as UEP.
On-going efforts to warn the industry of impending over-

production and industry cooperation to correct the problem
before it becomes one means “money in the bank” for the
entire industry. Remember - in the egg industry, “more means
less” - it always has and it will always be so.

135. In 1999, after becoming an individual producer membership group, UEP decided
to take immediate action regarding egg supply and act as the conduit for an industry-wide supply
control agreement. According to the UEP’s “United Voices” newsletter, the meeting occurred as
follows:

The Marketing Committee chaired by Dolph Baker, Cal~Maine
Foods discussed and approved two extremely important issues
The current situation in the egg industry regarding price, as
described by Chairman Baker, is in a crisis condition and the
industry is hemorrhaging because of the low price.

It was pointed out by both Chairrnan Baker and Ken Looper, who
provided statistics for the meeting, that the industry is in a
defensive mode regarding the price situation. It was suggested
that action be taken immediately to go on the offense regarding

 

58 “An Egg Economics Updare _ When More Means Less!,” Number 145, April 15, 1994.

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this particular situation, Ken Looper provided numerous
statistics showing the trends over the years regarding price vs. bird
population.

At the present time there are in excess of 7 million hens over
what the economic limit should be.

It was decided that a bold move should be made to
immediately reduce the number of hens that are currently
producing eggs After considerable discussion, a motion was
made and passed addressing the challenge in three phases:

' Immediate molt of 5% of the flock.

~ Cut back 5% on flock inventory over the next 6-12 months
° Develop a hatch reduction program.

There was an ensuing discussion regarding the publicity to the
industry that this needs to be done.

There were 113 million birds represented at the meeting, leaving a
majority that were not represented and through various means
including media, this word will be brought to the total egg
industry.

Additionally UEP was encouraged to become more active in
pushing the industry to accept responsibility of expansion and its
educating the industry as to the ramifications of over-production.
This relates to the increased production and building of` new
facilities that is now taking place.59

136. UEP’s benchmark was that its members could increased production by 2-3
million hens per year and maintain good retums, but by late 1999/early 2000, the industry was on
track to add 10 million birds to the flock. It was at this time that UEP recommended its short-
terrn flock reduction strategy - and producers responded, culling and molting early and delaying
or reducing replacements According to an industry article about the plan, the response
“worked” and “the year-end flock was just 3.7 million hens larger than the year before and
producers experienced a good holiday run and profitable year.”60

137. In accord with UEP, USEM’s members also voted to reduce flocks:

In an attempt to address the over supply of eggs and lessen the

impact of the current below-cost-of-production prices the
membership of United States Egg Marketers, Inc., has voted

 

59

60 “Overproduction is the Focus of UEP Meeting,” Egg Industry (Nov. 1999), at 1-3.

“Egg producers looking at marketplace’s options as industry again struggles with excess
production,” Feedstuffs (Nov. 5, 2001).

33

 

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unanimously for a plan aimed at reducing the supply of eggs
within the membership The members of the cooperative,
representing about 60 million layers or 23% of the nation’s total
egg production, adopted the following resolution: That each
member immediately molt 5% of their total flock and achieve this
goal no later than October 15, 1999; and each member reduce their
total flock by 6% as quickly as possible, but no later than
November 20, 1999 and maintain their flocks at the reduced levels
through July 1, 2000; and that the chairman of the cooperative
appoint a committee to study and develop a chick hatch reduction
program for consideration by the membership no later than
November 3, 1999.61

138. However, a similar flock supply issue occurred in 2001. The UEP estimated that
10.8 millions hens would be added to the national flock by the end of the year. Thus, UEP
developed another “emergency flock reduction” of 5%. UEP’s emergency plan asked producers
to begin running 100,000-hen houses at 95% capacity by de-stocking one bird per cage until
houses reached the 95% capacity goal. Industry studies showed that these reductions would
produce greater returns Many producers signed “commitment sheets” to the program and others
agreed to it in secret not wanting to publicly associate with the prograrn.62

139. Ken Looper, vice chair of defendant Cal-Maine Foods, prepared a table for the

UEP and co-conspirators documenting the impact on price to changes in flock size, which was

re-printed in an industry publication:

 

 

 

 

 

 

 

 

 

Impact on price Change in flock size from year Impact on price
- high demand - before - low demand -
+ 23 cents - 5,000,000 hens + 16 cents
+ 17 cents - 4,000,000 hens + 11 cents
+ 12 cents - 3,000,000 hens + 7 cents
61 “U.S. Egg Marketers Vote to Reduce Supply,” Egg Industry (Nov. 1999).

62 “Egg producers looking at marketplace’s options as industry again struggles vw`th excess

production,” Feedstuffs (Nov. 5 , 2001).

34

 

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+ 8 cents - 2,000,000 hens + 4 cents
+ 5 cents - 1,000,000 hens + 2 cents
+ 3 cents + 1,000,000 hens 0

+ l cent + 2,000,000 hens 0

0 + 3,000,000 hens - 1 cent

- 1 cent + 4,000,000 hens - 3 cents
- 2 cents + 5,000,000 hens - 5 cents
- 4 cents + 6,000,000 hens - 8 cents
- 6 cents + 7,000,000 hens - 11 cents
- 9 cents + 8,000,000 hens - 15 cents
- 12 cents + 9,000,000 hens - 19 cents
- 15 cents + 10,000,000 hens - 23 cents

 

 

 

Source: Ken Looper, Cal-Maine Foods, Jackson, Miss.63

140. The egg industry realized it needed a more reliable way to implement and enforce
its conspiracy to reduce output to artificially sustain prices As a result, it decided to use “animal
husbandry” as a pretext to reduce the flock and egg supply.

141. In 2000, UEP members had purported to adopt voluntary “animal husbandry
guidelines” based on recommendations from a committee appointed by UEP’s board of directors

and a producer animal welfare committee64 The 2000 guidelines were actually revisions to

 

63 Id

64 Donald Bell, “Don Bell’s Table Egg Layer F lock Projections and Economic
Commentary” - 2002, No. 16 (July 16, 2002) (“This report was written by Don Bell, University
of Califomia Poultry Specialist emeritus, under the sponsorship of United Egg Producers[.]
United Egg Producer’s has developed a Set of cage space standards with the help of a scientific
advisory committee and a producer animal welfare committee The standards describe the step-
wise introduction of increased space allowances along with deadlines for the industry’s adoption

35

 

 

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UEP’s performance-based guidelines adopted in the early 1980s65 A key part of the 2000
guidelines was the recommendation that producers gradually increase cage space by transitioning
from 48 square inch per hen to 67-86 square inch per hen according to a twelve-year phase-in
schedule66

142. As part of these guidelines and UEP’s and USEM’s 1999 commitments to reduce
the number of hens that Were producing eggs UEP later convinced producers to not add capacity
or make up for the lost hens that would result through reduced cage densities in order to restrict
output and fix and raise prices This agreement to curtail production had no basis in animal
husbandry and was designed solely to reduce output and fix prices

143. In 2001, UEP members reaffirmed their “commitment” to the “scientific” cage
program. ln addition, UEP members agreed to quicken the cage space phase-in period from
twelve years to six.67

144. UEP not only intended for the cage program to be a way for the industry to

conspire to reduce output, but it actually asked its economist to study this issue.

 

of the standards due to the extreme economic impact of such changes [ ] The animal husbandry
recommendations of the two committees are relative to minimum space allowances in cages.”).
65 “Egg Producers Adopt Animal Welfare Guidelines,” Feedstuffs Oct. 16, 2000, In 1981,
UEP’s current president, Gene Gregory, was appointed committee chairman of the newly formed
animal welfare committee, The “all-industry task force” set out to “develop an industry code of
good management practice. . .; develop industry situation brochure. . .; establish industry
clearinghouse for animal welfare information; seek academic advisor to committee; develop
producer certification program; develop egg industry press kit; establish communication
network.” UEP Designates Director of Welfare, Lancaster Farming, May 2, 1981,

66 “Egg Producers Adopt Animal Welfare Guidelines” Feedstuffs Oct. 16, 2000.

67 “Egg Producers to Quicken Phase-In: Hen Husbandry Standards” Feedstuffs, Dec. 12,
2001 (stating, “Egg producers also passed the motion after being urged by German egg producer
Jurgen Fuchs not ‘to make the same mistake’ German producers made when they dismissed the
animal welfare issue because they now are forced to abide by government-imposed standards
that will ban all battery cage housing in 2007. The German industry ‘did not respond quickly
enough. That was a big mistake,’ he said.”).

36

 

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145. In July of 2002, Don Bell, under the sponsorship of UEP, drafted a report entitled
“Several Possible Scenarios Resulting From UEP’s New Husbandry Guidelines.” The report
noted that as of 2002, 70% of the nation’s laying flock had been committed to UEP’s scheme,
but also found that “[i]ncreases in hen counts by back-filling cages at ‘push-out’ time or by
utilizing previously un-used farms or houses my occur . . . As egg shortages increase, individual
companies will find it necessary to replace the missing hens which will require new
construction.”68

146. Nevertheless Don Bell ultimately concluded that if the UEP and its co-
conspirators were able to keep production down by not replacing lost hens the maximum
industry income could be between $3.55 billion (100% compliance with no growth) and $2.51
billion (50% compliance with 10% growth).

147. In an article about his research, Mr. Bell said “the data are available for everyone
to consider” and “we don’t expect everyone to believe (these numbers), but the general
directions in the numbers should be of interest to everyone involved in table egg production.”69

148. UEP and its co-conspirators set out to implement Don Bell’s projections While
UEP’s guidelines were being followed by a significant percentage of the industry, the industry
was also making up for lost production through other means As such, UEP realized that it
needed to get its members to agree not to make up for the hens lost as a result of increased cage

space. This was the key part of the output restriction conspiracy, unconnected to any perceived

animal husbandry benefits that might result from larger cages.

 

68 “Don Bell’s Table Egg Layer Flock Projections and Economic Commentary - 2002;

Several Possible Scenarios Resulting From UEP’s New Husbandry Guidelines,” No. 16, July 16,
2002, -

69 “Impact of hen husbandry on prices would be positive even in worst-case scenario,”
Feedstuffs (Aug. 5, 2002).

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149. As a reflection of the need for the industry to reach an additional agreement not to
make up for lost hens industry meetings expressed frustration with the “lack of compliance” on
reducing output.

150. During a “Marketing Committee Meeting” in October 2002, at the UEP annual
meeting, then-chairman Dolph Baker, president of Cal-Maine Foods, called on Califomia egg
producer Arnie Riebli of NuCal Foods to speak to the crowd:

Arnie, as only Arnie can, proceeded to speak forcefully for several
producers about why the egg prices remain in their depressed
status He indicated he and his fellow producers have never been
more frustrated with the situation. There has been no compliance
with bird number guidelines as outlined in previous meetings
UEP reports the overproduction problems regularly. No one is
living up to agreements previously made.... There are many
older hens out there that ‘should have gone to heaven.’70

151. Next, Ken Looper, vice chairman of Cal-Maine Foods, “presented the statistics on
bird numbers and pricing. The egg industry must reduce the flock or the price of the
product will remain at depressed levels.”71 (emphasis added).

152. Then vice-president of UEP, Gene Gregory, “indicated that he is frustrated by
producers’ calls asking what is being done to alleviate the situation. Plans of action [to reduce
hen populations] have not worked and Gene is at loss of what to say.”72

153. UEP’s previous attempts to voluntarily control supply had not worked73 The

problems were related to compliance and a failure to prevent producers from making up for lost

 

70 John Todd, “Record Crowds and Heated Discussions at UEP,” Egg Industry, Vol. 107,
No. 11 (Nov. 2002) (“To add to the frustration, Greg Pearce, a Canadian producer, updated the
committee on the Canadian situation. Controls of production assures a profitable product.”)

§emphasis added).
' Id.
72 ]d

73 “‘Dreadful Year’ Ahead for Eggs, United Egg Producers report,” Feedstuffs (Nov 6 ,
2006) (“Proposals at the UEP meeting for producers to voluntarily decrease chick hatches 3-5%
over a lO-month period to better position demand and supply to strengthen prices failed at

38

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capacity. According to UEP’s long-time poultry research economist, Don Bell, the trick was “to
design the method and motivation” to convince producers to restrict output: “Major economic
issues are involved [and compliance] will be difficult to accomplish by persuasion alone.”74
154. As such, UEP realized that the plan to reduce egg output Would not work unless
everybody played by the rules and producers could not be trusted to police themselves Thus,
UEP began to implement monitoring and other procedures such as surveys and production
planning manuals to ensure compliance with the output restriction agreement Further, UEP
began a major effort, through its newsletters and non-public meetings to convince producers to
agree to implement the cage restrictions and then agree not replace the lost capacity or expand
operations UEP also convinced retailers not purchase eggs unless they were “UEP certified”
thus foreclosing markets to those who did not go along with the UEP’s scheme.
155. Egg prices declined until mid-October 2002 when the output restriction scheme
began to see results
156. A May 1, 2003 UEP newsletter reported on the results and urged producers not
to make up for lost production:
The industry’s 4-year period of depressed egg prices and financial
losses began a recovery period in mid-Oct. 2002 that has carried
forward through Easter of 2003. There are possible many theories
for this recovery, however we believe there are at least four major

reasons They are:
l. Reduced chick hatch.

 

committee levels and in the board of directors meeting on the grounds that voluntary efforts
don’t work and penalize producers who are efficient and have markets to serve. [ ] However, [ ]
strategies depend on voluntary efforts which is why the chief executive officer of the United
Potato Growers of America has been invited to UEP’s meeting in January to talk about the
group, which UEP could move to copy. United Potato was formed last year as a cooperative
organized under the Capper-Volstead Act, a 1922 law that permits agricultural cooperatives to
orchestrate supplies In its first year, the organization “ordered,” with member approval,
hundreds of acres of potato production to be either not planted or buried, with a consequent
48.5% increase in producers’ returns.”).

74 “Cage Space Hardest of Hen Welfare Needs to Evaluate,” Feedstuffs, Mar. 12, 2001.

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2. UEP’s Animal Care Certification Program.

3. Exotic Newcastle Disease.

4. Exports taken by United States Egg Marketers (USEM).

The reduced chick hatch began to take place in Oct. 2001 and has
resulted in 16 of the past 18 months having smaller hatches than
the comparable month a year earlier. By the fact that producers
held hens to older ages the hatch reduction has yet to create a
smaller layer flock. This however, will correct itself in the coming
months and should provide a much smaller flock beginning in the
second half of this year. The hatch reduction to meet UEP’s
Animal Husbandry Guidelines began Apri12002 and will
continue to provide a benefit until the industry begins building
houses to replace lost production. Producers should however,
wait until they have evaluated the extent of improved layer
performances before determining the additional housing
needed to replace lost production.

157. The article concluded: “Now can we maintain a profitable industry? The
decision is up to producers.”

15 8. In June 2003 UEP’s newsletter noted: “The hatch reduction, to meet the space
allowance guidelines of the Animal Care Certified Program are beginning to show egg
market value improvements This trend should continue.”

159. The same newsletter noted that UEP and its co-conspirators had “projected” that
these supply restrictions hidden under a pre-text of “Animal Care Certified” eggs would work:

These market improvements can be attributed to: -
l. Reduced pullet hatch finally making an impact upon
supplies

2. USEM exports reducing supplies at critical times
3. Animal Care Certified program beginning to work like many had

projected
160. In July 2003, UEP warned producers not to make up for lost hens in an article
titled “Word of Caution”:
As producers continue to reduce their layer house capacity to meet
the UEP Animal Husbandry Guidelines, please don’t make the

mistake of building new facilities to replace the lost number of
birds First, estimate your improved production performance to

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161.

determine your overall egg production loss (egg numbers ~ instead
of bird numbers), then build to replace only this loss

In Septernber 2003 UEP urged producers - “Don’t Screw Up A Good Thing”:

“One sure way of having poorer egg prices is by increasing egg supplies through holding

hens longer and keeping hens that should be disposed. Don’t screw up a good thing!!”

162.

The industry agreement to reduce output saw prices soar to record levels In

November 2003, UEP’s newsletter noted: “Egg Prices At Record Levels”

163.

Never in my more than 40 years in the egg industry have l ever
seen egg prices at the current levels We have used 1996 as the
benchmark of when times were really good but never anticipated
that prices could sustain producer prices above $1.00 per dozen for
any extended period Large prices for all regions east of the
Rockies have now been above $1.00 since Sept. 25th and appeared
headed for even higher levels

While supply has been reduced slightly, it appears that demand
may be far greater than anyone can even calculate at this time.
Consumers are still buying eggs and we have seen no resistance to
price.

As we enter the holiday season the demand will likely become
more aggressive and prices will likely go even higher. With the
increasing demand, increasing population and the continued
phase-in of cage space to meet the industry’s animal welfare
guidelines prices are likely to continue at levels far above the
past few years

A November 2003 Feedstuffs article confirmed these results:

‘It’ represents ‘a road that we've not traveled before,’ according to
Ken Looper, vice chair at Cal~Maine Foods Inc. in Jackson, Miss.
‘And it's a road that I think we will travel a little while longer.’

‘lt’ is what has been a dramatic, exciting and possibly quite
sustainable egg markets rally that began last fall and has hardly
looked back, with egg prices heading into this fall's holiday season
almost 22% higher than at the same time last year and nearly 80%
higher than they were heading into October last year.

The rally has turned four straight years of pricing weakness and
overall losses into pricing strength and profitability that's on
track for a long run if producers do not overexpand in
response to the prices and returns according to Feedstuffs

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sources contacted during the annual conference of the United Egg
Producers (UEP) in Albuquerque.

The rally traces its roots to a classic demand and supply scenario in
which demand for eggs has increased substantially this year while
production of eggs has held steady. Sources were divided over
whether demand has been more important than supply, although
UEP senior vice president Gene Gregory argued that were it
not for the egg industry’s move to adopt and implement its hen
husbandry standards which call for deintensification,
producers may have continued to overproduce and oversupply
the market,

164. ln December of 2003, UEP discussed the record prices and warned producers not
to get “too greedy” and produce more eggs:

Hopefully, everyone in or associated with the egg industry has
enjoyed the benefits of much improved egg prices during 2003,
After three or more years in which many of the industry
experienced financial hardships relief finally began to take place
in late 2002,

Through the week ending Dec. 28, the Umer Barry Midwest Large
quote averaged 21 cents per dozen over the previous year. The
Central Breaking Stock quote averaged 21 cents per dozen and the
unpasteurized whole quote, average 17.8 cents per pound over

the previous year.

Using the Large quote, only as a comparison, we would estimate
that a producer with 100,000 layers would have realized a cash
flow improvement of more than $400,000.00 over the course of
one year’s production.

Now the true test will come as the industry attempts to
maximize returns while avoiding the temptation of being too
greedy and producing a supply greater than demand will
warrant at profitable prices History tells us that the industry
doesn’t have a good track record of producing for profits but
more for volume. Let’s hope this trend doesn’t continue.

The average number of layers throughout 2003 will be about 276.4
million, virtually the same number as in 2002 and yet Umer
Barry’s Large quote will average about 22 cents more per dozen. If
the U.S. people population grows by the estimated 3 million per
year, we will have had approximately 6 million more people in
2003 consuming eggs from virtually the same number of hens we
had in 2001. Can the industry resist playing catch-up and
instead have managed growth?

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165. Also in December of 2003, UEP urged producers not to “abandon the program”
and produce more eggs:

The most important question on most egg producer’s minds right
now is; ‘How long will this fantastic market last?’ The current
profit cycle started in Nov. 2002 and will most likely extend
through Easter 2004.

That would result in nearly 18 months of profits Historically, 18
months is about the average length of time profit cycles have lasted
in the last 30 years we have kept records

Will the current profit cycle be an exception? Actually, your guess
is probably as good as mine. I could make a reasonable argument
either way. The current reduced hatch and very strong demand
would indicate good profits for all of 2004.

I personally doubt that the egg industry could earn 20 to 30 cents
per dozen for an entire year and not find a way to over produce.
That would be about $6 per hen for the average producer and much
more for companies that are top marketers
I think the biggest challenge will be maintaining the UEP
Animal Welfare Guidelines for increased space per bird.

There will be a huge temptation to get greedy, and abandon the
program by some of the companies

166. In March of 2004 commentary, UEP noted the industry agreement to keep
production low resulted in industry revenue of more than $1 ,000,000,000:

The industry successfully held hen numbers down. No
increases in production were made to compensate for a larger
human population. Demand was especially strong as evidence by
the consumer’s willingness to buy the same amount of product for
significantly higher prices Consurner prices of less than $1 per
dozen may have become a thing of the past. Annual retail prices
for 2003 were reported to be $l .25 per dozen for the year and
$1.55 for Dec.. for the U.S. Regardless of the causes the
industry would be wise to attempt to duplicate these conditions
in the future. The result was: a huge improvement in industry
revenue of ONE BILLION DOLLARS (or more)!!

167. Also in March of 2004, UEP also warned about increased hatching and urged the
industry not to expand:

Now there are signs that bear watching. Cage manufacturers report
brisk sales and the Jan. hatch was up (one) 1 million pullets over

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168.

169.

Dozen?”:

170.

Jan. 2003 and nearly equal to Jan. of 2002. Can we resist the
temptation to expand too quickly? UEP and USEM can only
do so much to help the industry be profitable. While both UEP
and Don Bell have forecast extremely good prices for 2004, this
can change quickly over the period of a year if producers don’t
watch for the warning signs.”

Gene Gregory, UEP’s president, also urged producers not to expand production:

With prices far exceeding expectations producers will naturally
reinvest in their company. These investments will likely be
remodeling existing facilities and building new facilities Some of
this is necessary to replace the lost hens from facilities meeting the
Animal Care Certified program. Some is also necessary to meet
the growing consumer demand Will egg producers expand too
quickly and create a surplus beyond demand? History tells us
this will happen but the speed that would traditionally bring this
about may be different this time.

An April 8, 2004 newsletter asked “Can We Maintain Prices Above $1.00 Per

“ls it now time to rethink our position? Should we be disposing of
those old hens and molting an increasing number of hens? Your
association (UEP) can only do so much. Egg producers must
ultimately decide whether they want to produce to meet the egg
demand or produce a surplus and sell at a loss.”

In May of 2004, Gregory urged members to stay “committed” to the program

while referring to the “Animal Care Certified” eggs as a “roadmap” for the industry supply

reduction campaign and increased profits:

[T]he Animal Care Certified program is the only roadmap the
industry has ever had for future planning. If you stay true to
the program and manage it to meet the market demand, it can
provide the industry with prolonged profits For many people,
back filling to replace mortality was a new production practice and
maybe necessary to maximize profits but it is now time to rethink
this position. Back filling into unprofitable periods certainly
doesn’t make good business sense.

“The industry built an egg inventory prior to Easter expecting
increasing demand The inventory was far too large, demand was
far less than expected, and we began panic selling to rid ourselves

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171.

 

of inventory. We caused the market to free-fall in all regions by as
much as 60 cents or more.

“Are you satisfied with egg prices 10-15 cents below the cost of
production? Or are you committed to making a change? Are
you committed to staying the course even when egg prices
begin to show some strength? Whether you sell eggs in the shell
or as egg products if you are in the production business, you
need to be committed to doing whatever is necessary to have
prices above the cost of production.

In regard to egg production, Chairrnan Deffner has this to say: ‘We
must remain disciplined in our approach to egg production.
We must maintain responsible growth. This can mean growth
through acquisitions remodeling of present housing, and in
some cases through new facilities We must remain disciplined
in producing enough products to meet the increased demand
without returning to the oversupply conditions of 1999-2002.
There are a lot of old hens on the farms that need to be
removed. Let’s get back to our regular molt and kill intervals.’
We believe that the industry only needs to make a few minor
adjustments but this needs to happen now. If we do this over the
next few weeks then the future looks very bright for a very
profitable industry during the second half of this year. Are you
committed or do you want to let someone else do the job and
simply reap the benefits?

The Marketing Committee has recommended that all UEP
members molt flocks at 62 weeks and dispose of spent hens by 108
weeks and that this plan of action take place immediately and carry
through until Aug. 1, 2004. While this is a voluntary program,
are you committed? Did you return your intention form to
UEP? Those that are committed will be acknowledged in a
future newsletter,

UEP identified the members that were “committed”:

UEP asked the members of their intentions of following the
recommended plan. The following companies have responded in
the affirmative: Cal~Maine Foods, Country Charm Egg
Distributors English River Pellets, Featherland Egg Co., Fort
Recovery Equity Co., Green Forest Egg Co., Hauge Egg Co.,
Hillandale Farms/Florida, ISE Newberry, Kokoff Egg Farm,
Mahard Egg Farm, McAna_lly Enterprises, Moark Productions,
Monty Produce, North Alabama Egg Col, Norco Ranch, Pilgrim’s
Pride, Randy Nelson Ventures Southem N.E. Eggs, Tampa Farm
Services, United Egg Marketing, Wilfie Farms Zephyr Egg Co.,
Zoet Poultry.

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172.

Additionally the following companies reported they already have a
company policy that nearly matches the recommended action.
Most of these plans varied only one week from

the recommendations Bud Shepherd & Sons, Moming Fresh
Farms National Food Corp., Powl Associates, Ritewood, Inc.,
S&R Egg Farm, Schipper Poultry, Wabash Valley Produce, Wright
County Egg Co.

The above named companies represent the ownership of
approximately 83 million layers or only 29% of the nation’s layer
flock inventory. F ar greater participation is needed to have an
impact The following companies reported that they do not molt
flocks and sell hens between the ages of 72-84 weeks of age:
Berend Brothers, Eagle Creek Colony, Feather Crest Farms, Grand
Mesa Eggs, P&R Farms, Phil’s Fresh Eggs.

In November of 2005, UEP acknowledged it was distributing a new “Production

Planning Calendar” With a “real purpose” of helping to restrict supply;

173.

Very soon, UEP will have printed and distributed the 2006
Production Plarming Calendar. While this annual calendar provides
a great deal of statistical data, its real purpose is to give
producer/marketers a planning guide for the replacement of
flocks or molting so that they may be able to maximize their
annual returns

In January of 2006, Gene Gregory discussed his “New Year’s Resolution” which

again urged members to reduce output:

At any rate, my resolution is to provide shell egg producers
with sufficient statistical information that will confirm that it is
a bad business decision to produce at 100% capacity during
the months of May through Aug.

Don Bell, in writing about the economic trends of the California
egg industry made the following cornments: “Comparable annual
data is available starting in 1966. During the next 40 years the
industry experienced a wide range of profits and losses with
exactly 20 positive income and 20 negative income years Annual
profits range from a high of $2.39 per hen/year in 2003 to a low of
minus $1.85 per hen/year in 2005. Profit or loss periods usually
occur for 3-4 consecutive years with the interval between profit
peaks or loss “valleys” of 5- 6 years in length. Positive years
totaled $22.39 per hen while negative years totaled $15.41 per hen

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during the 40 years studied_- a net gain of $6.98 per hen or $.17
per hen/year - less than one cent per dozen.”

Using Don Bell’s analysis of historical patterns and the financial
results we must as ourselves could we have changed this if we had
paid more attention to the high and low demand months of each
year? If we had simply reduced our egg production during the
months of May through Aug., could it have created a positive
change that would have at least minimized the number of
negative years?

UEP has published a Production Planning Calendar each year since
1992. The purpose of this calendar is to provide data by which egg
producers can make management decisions that will create the
most positive financial results possible, Even periods of low egg
prices and financial losses can be minimized with a little planning.
So why do we produce more eggs during a low demand period
than during a higher demand period? Is it just tradition, or are not
paying attention to supply/demand patterns?

When we look at a 10-year pattern, we find that Umer Barry’s
Midwest Large quote is at its lowest during the months of May
through Aug., So I challenge you to look at your own records
Over the past 10 years have you made money in the months of
May through Aug.? If not, then why not reduce your
production during those months? Are you afraid that you won’t
be as efficient? What is your goal ~ producing the maximum
number of eggs or making money?

So what can you do to change this pattern and improve the
bottom line for the months of May through Aug. and
ultimately improve your annual bottom line? Well obviously I
don’t have the answers that will apply to everyone and every
situation. My resolution is simply to give you some historical facts
that will prompt you to look for ways that can change these
patterns lt may involve a review of your molting schedules or it
may involve planning your flock schedules to have the least
number of hens in peak production during the low demand
periods Only you have the answers The question is whether you
will look for the answers and make the necessary changes to
improve your bottom line.

Now I have a request of each UEP shell egg producer member.
Help me make my 2006 New Year’s Resolution become a
reality.

174. A February 2006 newsletter noted that “The Marketing/Price Discovery
Committee reported on industry economics and suggested that each producer member should

review the monthly patterns of high and low egg demand and adjust supply to meet those

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demands The first six-months of 2005 ? Are we headed for the same economic pattern in

2006?”

175.

After prices dropped in January and February, UEP proposed a 2 percent

reduction in all members’ hen populations in its February newsletter:

176.

A concerned egg producer provided the following information and
we felt it was worthwhile sharing and asking UEP members to
consider.
2003:
2003 was a great egg price year. Midwest Urner Barry Large
averaged 92.6 cents We average 278.4 million layers for 2003
and produced 206.8 million cases of eggs
2005:
2005 was a lousy egg price year. Midwest Urner Barry Large
averaged 68.5 cents We average 285.8 million laying hens and
produced 213.9 million cases of eggs Shell egg demand, at retail
was down slightly in 2005 versus 2003 as a result of the passing
fad of low-carb diets
Consider:
We had 7.4 million or 2.6% more hens in 2005 (the lousy year)
than 2003 (the great year). The 2.6% more hens produced 3.4%
more eggs in the lousy year than the great year. That increase in
production was enough to cause a 24-cent per dozen decrease in
prices which equaled a loss of $l.5 billion in egg value,
Question:
How to turn lousy to great - or at least, really good - in 2006?
A 2% Solution:
Every egg producer reduces their hen population by 2% no
later than March 10, from their average hen number for 2005,
and maintains that 2% reduction all year long in 2006. So
simple, so painless, so rewarding - why wouldn’t it work?

In April 2006, UEP issued a “Supply/Demand Alert”:

Despite some weeks below the cost of production, shell egg
producers enjoyed a profitable period for the first 15 weeks of
2006. In anticipation that shell egg prices would fall
considerably after the Easter market, UEP’s Marketing
Committee met via conference call on March 3lst and
developed a recommended plan of action. The Marketing
Committee has made the following recommendations

1. Dispose of flocks six (6) weeks earlier than previously
scheduled.

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2. Molt flocks six (6) Weeks earlier than previously scheduled
To demonstrate how quickly the market can decline, we only have
to point to the fact that the Umer Barry price for Large eggs
dropped 15 cents per dozen in the first three days of this Week (the
week of Easter). Have you considered that one day’s production
from a million-bird complex at a 15-cent market value decline is
worth about $9,000.00 per day lost income? Isn’t a flock
adjustment (supply reduction) worth considering?

Prior to the Marketing Committee’s recommendations a rather
large egg producer (ownership of approximately 14 million layers)
reported their company was implementing the following plan of
action1 Effective the week of April 3rd, we began disposal of all
our flocks 4 weeks earlier than previously scheduled and initiated
molts 4 weeks earlier than previously scheduled

177. The UEP’s suggestion appeared to work. A May 2006 newsletter report noted:

The size of the nation’s layer flock declined by little more than 3
million hens in April. This is good news!! The nation’s flock size
was reported to be 288.7 million on May lst, which was nearly 6.3
million larger than a year ago on the same date. This is bad news!!
Pullets hatched during April were down 9% from a year ago and
down 6% for the period Jan. through April. This is good long-term
news!!

178. In June, however, flocks came back into production. A June 2006 newsletter
asked: “Are Early Molted F locks Back in Production?”

[UEP previously] recommended that members molt and dispose of
flocks six weeks earlier than previously scheduled

Since mid-May we have seen egg prices rise by 29 cents per dozen
and then begin to decline, From the early June peak price, we have
seen prices decline by 24 cents per dozen within 11 days The
Urner Barry Midwest Large quote was at 58 cents on June 22nd
(the day this story was written) and 7 cents per dozen below the
unprofitable level on the same day a year ago. Have early molted
flocks come back into production? Did anyone follow the
recommendation to dispose of flocks six weeks early? Do these
wide market swings do a disservice to our customers? Am I
wasting my time writing about this and urging producers to be
more responsive? Egg producers whether marketing shell egg
or egg products are going to have to come to terms with the
oversupply problem.

A producer wrote UEP saying: ‘It is pretty obvious that the molted
birds from about six Weeks ago are all back in production and we

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179.

know that we cannot expect the breakers to help us out as they are
nearly self-sufficient and the dried inventories are at or near all
time highs We were wondering if a proposal to extend all molts by
one additional week through Sept. would be a simple enough
program to get everyone who molts to participate It Would not
matter what length of molt you currently do, just extend it by one
week. We think it would have a very positive impact on supply.’

In August of 2006, UEP urged members to “stay the course” on manipulating

molt schedules “The Urner Barry quotes have recovered a little from their hopefully bottom

levels of 2006 but we are still not out of trouble The UEP Marketing Committee’s

recommendation for the weeks between Easter and Labor Day were to molt and dispose of flock

six weeks earlier than previously scheduled Members are encouraged to stay the course for

the next four (4) weeks.”

180.

181.

A January 2007 newsletter identified “UEP’s Role In A Profitable Industry”:

While recognizing that your cooperative can only do so much to
help the industry be profitable we do believe the UEP Board,
Marketing Committee and staff must play a role in providing
assistance Ways in which we hope we have provided assistance
include:

- Supply-demand recommendations

' Annual Production Planning Calendar

~ Working with Umer Barry on price discovery and a quarterly
PCT survery.

' Volume shell egg exports through the United States Egg
Markerters membership

In February 2007, UEP evaluated “The Egg Market” and how to keep prices high:

The best immediate answer to assure profitable prices is for
the industry to show some restraint. Producing more eggs than
the market demands at profitable prices is never good business
and everyone should study their own personal supply/demand
conditions and adjust accordingly. Producers should especially
pay attention to the period between Easter and Labor Day. We
have a history of supplies exceeding demand during that period
and we must change the pattem.

In discussions with two cage manufacturers UEP learned that this
past year was a very slow year for cage sales and one company

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182.

183.

suggested that it was the worst in history. In questioning of how
many new houses or conversions were or will be completed
between mid-year 2006 and mid-year 2007 we were provided with
estimates of 20 new projects for an approximate 5.3 million hens -
below normal replacements or expansions. We also learned that
equipment for 200 layer houses for cage-free production have been
or will be completed during the same period for an estimated 2
million hens One other positive change since the high egg
prices during the fall of` 2003 and spring 2004 is that the UEP
Certified program does not allow for backfilling cages to
replace mortality.

A recent survey by Egg Industry and the results published in their
Jan. 2007 magazine found 56% of the respondents saying they
believer prices in 2007 will improve, 38 % expected prices to
remain the same, with the balance expecting weaker prices The
survey participants ranked issues of importance and identified
overproduction (too many birds) as the top of the list of
producer concerns The Egg Industry Magazine again
published their annual list of the largest egg companies
showing 63 companies owning 86.9% of all the layers in the
country. These are the companies that have the potential to
have the greatest impact upon supply/demand conditions and
can cause the most rapid changes for assured profits

ln March of 2007, UEP warned producers to lower production after Easter:

History tells us that we will begin to produce surplus eggs the
week after Easter and continue until Labor Day.

The only way to avert this history and minimize the market
decline is for shell egg producers to begin making plans NOW
to molt or dispose of flocks Take a look at your personal history
and learn how many surplus eggs you were producing that had to
be sold to the Egg Clearinghouse, UEP, private brokers or to the
egg breakers Make the necessary adjustments

An April 2007 newsletter discussed the availability of more effective supply

control measures “Failure To Control Egg Supply Is Costing Billions. Can Something Be

Done?”

Over the past few months Dr. David Roland, professor at Auburn
University has shared ideas with UEP by which egg producers
might adjust their egg supply to meet the market demand The
concept is completely foreign to the traditional thinking of

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184.

maximizing egg production but we feel it is worthy to include the
following newsletter article written by Dr. Roland

It makes no sense when losing money to continue optimizing
production when the reason for losing money is excess eggs This
is especially true when new technology is available to reduce
losses and egg supply at the same time
The objective of supply management (SM) is to prevent the
over supply of eggs which can reduce egg prices It is estimated
that billions have been lost and will continue to be lost unless
better methods of SM become available UEP recognizes this
and has promoted reducing hen numbers and molting to help
control supply. However, many peak in production after molt. A
new program called Econometric Feeding and Management (EF &
M) has been developed which allows producers to maintain hen
numbers optimize returns and at the same time help control egg
supply. The EF & M program has 5 components (fee formulation,
traditional feeding program, record keeping, econometric feeding
and production control) integrated into a single program. . . .

In summary, the availability of Econometric Feeding and
Production Control Programs along with hen reduction and
molting should allow producers much more control over supply
and profits Although changing a century of feeding for maximum
performance Will be difficult and not without some learning pains
the potential gain in profits (literally billions) for even slight
improvements in SM is too much for the industry to continue
ignoring. For more information call Dr. Roland at (334) 844-
2605.”

In August of 2007, UEP encouraged producers to molt earlier (which causes

chickens to stop producing eggs) to restrict egg supply;

185.

Conditions, however, on July 3lst had begun to show some market
Weakness with shell egg prices declining 5 cents per dozen. It
could be good timing for egg producers to take care of their
business by disposing of or molting hens 2 - 3 weeks earlier
than previously scheduled

In September of 2007, Midwest Poultry acknowledged it would not be expanding

until “industry issues” were worked out:

Like many egg companies in 2007, this is not a year of expansion
for Midwest Poultry Services, L.P. “Our goal is to keep the flock
size where it’s at,” says Bob Krouse, president of the Mentone,
Ind., firm. While having no growth plans for the near term, longer

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term, Krouse says that companies like his one of the nation’s
top egg companies with 6 million layers will have to grow to

match the needs of expanding customers But not for a while,
and not before some major industry issues are worked out.”75

186. Midwest Poultry also acknowledged that the UEP guidelines were helping to keep
supplies low and prices high:
Krouse is optimistic on profits in the near term, ‘Overall, I think
the industry will be profitable over the next three years,’ he says
One big reason why is animal welfare . . .
Closely related, he says is the capital outlay Midwest Poultry
Services has invested over the past 5 years to increase cage
space from 52 sq. in. to 64 sq. in. to meet new United Egg
Producers animal welfare guidelines Such shifts significantly
contribute to why there was no surplus in eggs this summer,
and strong profits for egg producers nationwide 6
187. In November of 2007, Larry Seger, chairman of United States Egg Marketers,
acknowledged the agreement to restrict output. In an interview in Egg Industry, he said “that he
expects egg production to increase, but not a ‘wholesale run’ like what occurred in the 1980s and
l990s The industry has become more responsible on the production side, and, he says the
animal welfare guidelines will keep production from increasing substantially. All this has
been occurring, he says ‘With demand that is as strong as it’s ever been.’77
188. Craig Williardson, president and CEO of Mo-Ark, LLC, stated that “discipline,
balance, steady demand, and of course, the normal cyclical factors following a very poor market
period starting in mid-2004, have all played a role in 2007 looking so positive The industry has
been able to better manage its production and its inventories; trades of surplus product are

finding the right market homes . . ”78

 

75

76 “Midwest poultry services looks to the future,” Egg Industry, (Sept. 2007).
Ia’.

_7/; “2008: Lower prices than ‘07, but still a good year,” Egg Industry (Nov. 2007).
Id.

 

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189. ln January of 2008, Egg Industry examined the factors leading to the record
prices in 2007:

The very bright factor corning out of 2007 and carrying into 2008
is that the industry, both shell eggs and egg products enjoyed
record-breaking prices throughout the year. The good news was
that egg producers and processors made money, despite high feed
costs It was evident at meetings and conferences held throughout
2007. The key reason for a profitable 2007 : Despite the fact
that the U.S. population grew by some 3 million, the number of
layers decreased by 4 million. Fewer hens make for a better
price at the marketplace In addition, egg producers
maintained lower flock sizes to better accommodate the
summer season, which historically has slower egg sales Egg
producers also continued to maintain their schedules for the
increase of cage space for their hens in compliance with the
United Egg Producers (UEP) Certified Animal Welfare
program. This meant fewer hens housed, which brought the
national inventory down.79

190. UEP’s January newsletter noted discussed 2007’s agreement to reduce output and
encouraged producers to keep the agreement in 2008:

Plan For Supply/Demand Between Easter and Labor Day
Egg farmers reviewed their history of supply/demand between the
weeks of Easter and Labor Day as they planned to fill the market
in 2007. Recognizing that historically, the industry produces
more eggs during that period than the market demands egg
farmers made adjustments Even with currently profitable
prices it would be good business in 2008 for producers to
manage their supply during what historically has been the
lowest demand period of the year.

191. In February of 2008, Dolph Baker, president of Cal~Maine Foods said: “[o]ur
forecast is that the supply side will be similar to 2007. Prices in 2008 could be as good What
we learned in 2007 is that we have control of our destiny if we work at it,_and as an

industry, 2008 could be another super year,”80

 

79 “Crystal ball has 2008 looking like another profitable year,” Egg Industry (Jan. 2008)
80 “Infrastructure’s role in keeping egg prices high,” Egg Industry (Feb. 2008).

54

 

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192.

Another article in the February 2008 issue of Egg Industry recognizes that the

industry has kept prices artificially high through the case size restrictions:

193.

194.

Cage space attrition due to the requirements of the UEP
guidelines and basic wear-and-tear have been the leading
factors in keeping supply tight and prices high. . . . One basic
effect of the guidelines’ required increase in cage space is that,
overall, the industry has lost about 20 percent of space available in
existing houses, a trend which will continue through April of 2010,
when all cages in the UEP program will have to provide 67 square
inches per bird and 29 percent of space present in ,2002 has been
lost. Of course, all of these changes only apply to participants
in the UEP certified program, which includes 196 million cage
spaces in the shell egg market and about 22 million in the egg
product market, but for the time being this analysis focuses
primarily on the shell egg market. Thus, from 2002 to the present
day, the shell egg industry has already lost 37 million cage
spaces to the UEP guidelines alone.81

The article continued:

How long our industry will remain profitable is always difficult to
predict and subject to many different interpretations This report is
an attempt to provide one point of view and hopefully stimulate
additional discussion on the subject.

One important but unproven assumption we have made is that,
with the Umer Barry large egg price over $1.60, every cage in the
country that can hold a hen is probably full. If this is the case and
we are as far behind in replacing older equipment as our numbers
show, the industry has no way to increase production in the short
term. If producers continue to follow the UEP animal
husbandry guidelines, as appears likely, We can not quickly
increase flock size by placing an additional hen in each cage.
Planning and installing new cage equipment will take at least eight
months to one year from beginning to end. Our basic conclusion is
that whenever new construction begins on a large scale (and it does
not appear to have started yet), we will have about one year of
great egg prices before oversupply brings this exciting ride to an
abrupt halt.82

UEP’s February 2008 newsletter again encouraged producers to reduce supply

after Easter utilizing UEP’s “Production Planning Calendar”:

 

81
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Id.
Id.

 

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Historically, retail egg demand is at its lowest level during the
weeks between Easter and Labor Day. UEP’s Production Planning
Calendar reports the supply/demand index at 88.8% during the
months of April through August. Using 100% as a balance
between supply and demand indicates that the industry produces a
larger supply than demand during those months. Egg producers
should strive to manage their supply to meet the market
demand for both the lower and higher demand periods.
Producers are encouraged to quickly review their individual
company history and, if needed, adjust their egg production to
meet the expected demand between the weeks of Easter and
Labor Day.

195. In May of 2008, Midwest Poultry acknowledged that producers were sticking to
UEP’s guidelines:

‘When you look at the number of birds and the number of cage
spaces we’ll lose to animal welfare (UEP’s program), it looks like
prices for this year will look pretty similar to last year,’ says Bob
Krouse, president of Midwest Poultry Services, Meltone, Ind. ‘The
only way (the industry) could expand would be if people
abandoned the UEP program and I don’t see that happening.’
. . . . So far, he has not seen any slackening of demand, and he
believes that egg demand is largely inelastic unrelated to price.
Helping egg demand in the face of high prices, he says, ‘is that all
price prices are high. I don’t see demand for shell eggs going
down.’83

196, In June 0f72008, Gene Gregory of UEP acknowledged-dieir-supplyrn&nagement__

program was working:

Managing Supply - Producers should be profitable the last quarter
of the year if not before, Gregory says. He looks for the flock size
in 2008 to average l million to 2 million birds more than 2007.
Much of what Gregory is seeing is producers who are remodeling
with existing buildings rather than putting up new complexes.
‘We’re doing a better job managing supply,’ he adds.84

197. In July of 2008, Gene Gregory discussed his “Egg Industry Concems” in the UEP

newsletter:

 

83 “Exeeutives optimistic on prices,” Egg Industry (May 2008).
84 “Second half of 2008 still looks profitable,” Egg Industry (June 2008).

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198.

the results:

With the current level of feed and fuel costs, I’m concerned about
whether our industry can continue to manage our business to be
profitable. With the increased pullet hatch over the past 17
months, I’m concerned about whether we are building a flock
size that moves the egg supply over into the surplus category
and therefore prices below the costs of production. I’m
concerned when I see corn prices have gone from $2.00 per bushel
to $7.00 per bushel and knowing we have no way to pass the cost
on other than managing our egg supply.

I’m concerned when I see Don Bell’s latest forecast of 291 .1
million hens by December lst and averaging 289 million for the
first five (5) months of 2009. We have proven that we can have a
responsible industry with 280 to 285 million hens but can we
afford the increase of 5 to 10 million more hens.

I’m concerned with I see the supply side of our business
currently greater than the demand side and surplus eggs are
readily available at discounted prices. This is certainly not good
when considering the increased feed and fuel costs impacts. I
would therefore suggest that if you have any flocks with a
planned molt schedule within the next few weeks that you
move up the schedule a week or two.

In early May the members of United States Egg Marketers made
the sale of 100 containers of eggs for export. The market moved up
30 cents per dozen from what were possibly breakeven prices at
the time of the sale. Since July lst we have seen prices declining to
breakeven or unprofitable price levels. We cannot always export
ourselves out of a bad situation and therefore I’m concerned
about whether egg farmers are paying close attention to
supply/demand conditions and future projections

I’m concerned when I see that the broiler industry is unprofitable
and companies are not hatching breeding stock eggs. Instead these
eggs are finding their way into egg-industry breaking plants.

I’m concerned when l hear rumors of expansion that could
add 10 to 12 million hens to our nation’s flock inventory at a
time when feed and fuel costs are extremely high and likely to go
even higher.

In August of 2008, UEP conducted a “Molt Survey” of its members and shared

In trying to understand why we are seeing the increased monthly
chick hatch, we have conducted a molt survey. Because of UEP’s
new animal welfare guidelines for molting, we questioned whether
some companies have reduced their number of flocks being

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molted. We also question whether profitable egg prices may have
caused some companies to change their molt schedules or given up
molting altogether. If not a change in molting practices, then this
would point to the fact that we are creating expansion with new
buildings or remodeled buildings with a larger house population.
The findings of the molt survey are as follows:

' 74 companies with ownership of 152.8 million hens participated.
This represents about 54.6% of the nation’s current flock
inventory.

' 52 companies reported that they have molted all flocks in the past
and have not changed their production practices.

' 1 1 companies reported they have not molted in the past and have
not changed.

' l company owning 1.1 million layers reported they have
discontinued molting their hens.

' 10 companies reported having changed molted practices by
reducing the number of flocks placed in molts. The companies
provided the percent of fewer hens being molted. When multiplied
by the % times the number of hens for each company, this
represents 6.1 million fewer hens being molted. Adding the l.l
million and 6.1 million hens gives us 7.2 million fewer hens being
molted out of a total of 153 million.

Let’s compare USDA’s monthly report of hens in a molt and those
with a completed molt for the first six (6) months of 2008 versus
2007. The percentage of hens in a molt in 2008 averaged 3.08%
versus 3.75% in 2007. The percentage of hens having completed a
molt averaged 21 .5% in 2008 versus 23.8% in 2007. This tells us
that there are fewer hens being molted in 2008, The percentage of
hens having completed a molt would represent about 6.5 million of
the nation’s layer flock,

So both UEP’s survey and USDA statistics confirm that fewer hens
are being molted and with fewer hens being molted this would
require an increased chick hatch,

Over the past 17 months we have seen the chick hatch increase by
14 million pullets. Based upon my limited understanding, it would
be my opinion that we still have a great deal of expansion going in
this year and early 2009.

Over the past few days I’ve heard from two companies in
regard to our current projections for flock size. One company
reported that they had plans and permits to build several
houses and have now stopped with those completed or under
construction. Another company reported that they had
discussed potential flock expansion but have decided not to
expand and hopes the rest of the industry does the same.

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4. UEP’s Animal Husbandry Guidelines Are a Pretext For a Naked
Price-Fixing Scheme

199. The UEP and co~conspirators’ supply control campaign starts with the fee-based
“UEP Certified” logo and misleadineg termed “animal husbandry guidelines.” UEP created the
UEP Certified program as a front and pretext for a naked price fixing agreement and an
anticompetitive output restriction scheme. Beginning in 2000, UEP and its co-conspirators
began implementing the conspiracy through a series of carefully planned collaborative steps
under the pretext of animal welfare. The UEP Certified program’s primary purpose and admitted
“projection” was to provide a front for the egg industry’s separate horizontal agreement to reduce
output by not replacing hens lost through the use of bigger cages.

200. The UEP’s certification guidelines are a sham and have no basis in animal
husbandry, nor do they promote competition

201. The UEP Certified program features a trademarked logo which companies can
license for a fee. UEP Certified companies are permitted to display the UEP Certified logo on
their packaging and to market their eggs as “United Egg Producers Certified.” The company
may also authorize retail customers to use the logo. All UEP Certified eggs must also be
marketed with the phrase “Produced in Compliance with the United Egg Producers’ Animal
Husbandry Guidelines.”85

202. UEP holds its guidelines out as a “comprehensive and progressive animal care
program . . . developed from guidelines established by an independent advisory committee of
some of the top animal welfare and behavioral scientific experts in the U.S.”86 However, UEP

used the standard setting process to entrench existing industry practices and reduce output. Thus

 

85

§§008).

United Egg Producers, Animal Husbandry Guidelines for U.S. Egg Laying Flocks, at 24

United Egg Producers Certified: We Care, http://www.uepcertified.com/ (last visited June
2, 2008).

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the animal husbandry guidelines are a pretext for UEP’s long-attempted goal of restricting hen
populations nationwide and thereby increasing the industry’s bottom line.

203. The cartel’s supply control guidelines are based on a simple premise: egg
producers make more money when there are fewer hens in production.87

204. UEP has successfully reduced the size of the U.S. laying flock by agreeing with
companies not to replace lost capacity and using the policing mechanisms that are built into the
UEP Certified program to punish producers who violate certain key provisions. Strict obedience
to these key supply control campaign is necessary in order to ensure the success of the scheme.
F or that reason, rules that affect hen populations are the only rules UEP enforces. Guidelines
that do not have a direct impact on hen populations - including those that purportedly address
humane treatment ~ are flouted with impunity.

205. For example, toxic ammonia concentrations, cruel killing methods and failure to
remove dead birds from cages daily will only cost producers a five (5) point deduction on their
annual audit. In contrast, UEP has a zero tolerance, automatic failure policy for producers that
violate cage spacing formulas, engage in a procedure known as “backfilling” (replacing hens for
losses due to mortality) and starvation induced molting (to increase egg production).88

206. By vigilantly enforcing only those UEP Certified rules which limit hen
populations, agreeing not replace lost capacity, and through other means not related to the

Certification guidelines, UEP has reduced the size of the laying flock nationwide and in turn the

 

87 R. Smith, Cage Space Hardest ofHen Welfare Needs to Evaluate, Feedstuffs, Mar. 12,
2001 , at l (citing Don Bell’s research showing that a decrease in flock size by 1 million hens
increases prices 1 cent/doz.).

88 The practice of backfilling cages is done by placing different aged birds in cages to
replace birds who have died to maintain a full house at all times. Backfilling has long been
known to compromise hen welfare. Research has shown that mixing birds from different flocks
increases susceptibility to disease and to increase stress and aggression.

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number of eggs produced. The resulting limits on output have allowed UEP and its co-
conspirators to reap record profits as egg prices have skyrocketed to historic highs.
207. UEP relies heavily on the role of the “independent scientific advisory committee”
to lend their guidelines the facial appearance of legitimacy and neutrality.
208. For example, in 2007 UEP’s president, Gene Gregory, testified before a House
Subcommittee in regard to the “scientific advisory committee” stating,
[T]o ensure its objectivity, the committee did not include any
producers as members. The scientific committee recommended
significant changes in egg production practices UEP accepted the
recommendations and today about 85% of our industry has
implemented them. [] As the years have gone by, the scientific
committee has made a number of additional recommendations
UEP has never rejected a recommendation by the committee - a
remarkable track record that reflects our industry’s determination
to follow the best available science. [] The committee’s
recommendations became what is now known as the UEP Certified
Program.89
209. However, Gregory omitted important information and misstated the facts about
the role of this committee
210. The “independent scientific advisory committee” (“scientific committee”) did not
write the animal husbandry guidelines UEP’s “animal welfare committee,” which is made up

entirely of egg producers, authored the guidelines utilizing Don Bell’s economic analyses as their

primary motivating factor ~ not animal husbandry.90

 

89 Statement of` the United Egg Producers: Before the Subcomm. On Livestock, Dairy, and

Poultry of the H. Comm. on Agriculture, llOth Cong. (2007) (statement of Gene Gregory,
President, United Egg Producers).

90 See also United Egg Producers, Animal Husbandry Guidelines for U.S. Egg Laying
Flocks, at 2 (2006) (“The recommendations and guidelines found within this document have
been accepted by and presented here by the Producer Committee using the recommendations
from the Scientific Committee as a blueprint.”). See also Don Bell, Don Bell’s Table Egg Layer
Flock Projections and Economic Commentary (July 16, 2002) (the report was made “under the
sponsorship of United Egg Producers” and states “United Egg Producers has developed a set of
cage space standards with the help of a scientific advisory committee and a producer animal

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211. The scientific committee was asked to review literature on specific topics and to
develop recommendations based on existing management and husbandry practices and to make
“recommendations for revision of [the] industry’s animal care guidelines.”91 Gregory claims that
UEP accepted the recommendations of the scientific committee in their entirety, but UEP has
never released the recommendations to the public.

212. The committee’s recommendations were also constrained by limited data, Two
members of the scientific committee, Dr. Joy Mench and Dr. Janice Swanson, wrote that, “a
different decision about the minimum [space] recommendation would have been reached had the
committee given more weight to the information from the preference testing and use of space
studies, since these indicate that hens need and want more space than 72 sq. in.”92

213. Gregory maintains that the scientific committee recommended “significant
changes in egg production practices.” However, by June 2002, just six months after the program
was announced, 135 companies had already attained “UEP Certified” status.93 By July 2003,
136 companies had been audited and only one failed - a 99 percent passage rate.94 The stunning
swifiness with which egg producers complied with the guidelines belies UEP’s assertion that the
program required any “significant changes.”

214. During the standard setting process, UEP maintained a commitment to avoid,
where possible, the introduction of welfare-driven production practices and maintain the status

quo in order to offer a pre-textual “legitimate” front to its scheme to fix prices. UEP’s

 

welfare committee.”). Donald Bell is a member of the “independent scientific advisory
committee.”

Testimony of Gail C. Golab, PhD, DVM, Before the Subcomm. On Livestock, Dairy, and
Poultry of the H. Comm. on Agriculture, 1 10th Cong. (2007).
92 Joy Mench, Janice Swanson, “Developing Science-Based Animal Welfare Guidelines.” A
speech delivered at the 2000 Poultry Symposium and Egg Processing Workshop.
9 Press Release, Food Marketing Institute, U.S. Egg Industry Introduees Sweeping
Changes to Animal Welfare Standards (June 27, 2002).

United Egg Producers, United Voices, July 2, 2003 at p. l.

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certification program is not a legitimate attempt to improve product quality, innovation or service
and is instead, a sham and pretext for its naked price fixing agreement to reduce output.

215. One UEP guideline provides that birds should have adequate access to feed
troughs although, not necessarily feed. This is because as originally written by the UEP
producer-members the guidelines did not prohibit an industry practice known as “feed
withdrawal forced molting” where birds are starved for days or weeks to profitany manipulate
the laying cycle.95

216. Molting is done strictly for economic reasons to manipulate egg supply; “induced
molting offers a means of matching the egg supply with market conditions [I]nduced molting
offers distinct economic advantages to the commercial egg industry.”96 The only conceivable
reason forced molting was permitted under the UEP Certified program in 2002 was for economic
and market manipulation reasons.

217. Members of UEP’s own scientific committee opposed forced molting.97

However, it was not until UEP was able to fund research that discovered economically viable

 

95 Poultry researcher and member of UEP’s scientific committee Donald Bell recommends

complete feed withdrawal for a period of ten (10) to fourteen (14) days during a starvation
induced molt. See Donald D. Bell, Poultry F act Sheet No. 5: General Molting Recommendations,
University of California Cooperative Extension. According to Bell, “[forced molting] is done to
lengthen the productive life of flocks and to improve profits in egg production.” Donald Bell,
Economics of Alternative Replacement Programs, Egg Economics Update (University of
Califomia Cooperative Extension, Riverside, CA), Apr. 20, 2000 (“[forced molting is] done to
lengthen the productive life of flocks and to improve profits in egg production.”). In UEP Memo
No. 35 titled, High Egg Prices and Molting: How Egg Prices Affect the Decision to Molt, Bell
noted that molting was only justified when prices were low and costs of replacement chicks were
high. Donald Bell, Don Bell’s Table Egg Layer F lock Projections and Economic Commentary
(Dec. 10, 2003). The memo was written “under the sponsorship of the United Egg Producers.”

John B. Carey and John T. Brake, Induced Molting as a Management Tool, North
Carolina State University/North Carolina Cooperative Extension (Feb. 1987).

ln a letter to the editor in Poultry Science, June 2002, “Does Hunger Hurt?,” Dr. Ian
Duncan and UEP scientific committee member Joy Mench agreed that “withholding feed for 21
days from an animal that normally eats every day meets the biological definition of ‘starvation.’
. . .[I]ncreased aggression suggests severe frustration and the increased non-nutritive pecking,

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ways to induce molting by feeding birds waste products such as grain hulls (essentially empty
calories mixed with a flavoring agent for palatability) that UEP disapproved of feed-Withdrawal
forced molting.

218. Because feed-withdrawal forced molting is such a powerful device for market
manipulation, it is among one of only four circumstances under the current guidelines that will
cause automatic failure during an audit. This underscores UEP’s primary motivation for
adopting the UEP Certified program - to implement and police compliance with its supply
control scheme. 1

219. The UEP Certified program has built in reporting mechanisms that allow the
cartel to monitor compliance and ensure members are not cheating. In addition to hen flock size
restrictions, UEP uses “Economic Alerts,” “Production Planning Calendars,” “Processing,
Cartoning and Transportation forms,” “hatch schedules,” monthly and annual audit reports,
industry meetings, and newsletters as scorecards to police compliance

220. UEP and its co-conspirators are also able to force compliance with the scheme by
convincing retailers to only buy “UEP certified” eggs. If an egg producer does not sign on the
agreement, they may not be able to market their eggs or sell them through many maj or retail
outlets.

221. Shortly after the program was adopted two major retailers, The Kroger Co. and
Wal-Mart Stores, Inc. indicated that starting January 1, 2003, they would only buy UEP Certified
eggs. Other retailers were expected to “follow the Kroger/Wal-Mart lead in short time, making

100% compliance not only a program strength but necessary and practical.”98

 

some of which was stereotyped, suggest severe frustration and extreme hunger, and the reduced
activity suggests debilitation.”

“Egg producers put husbandry program into motion as early model for others,”
Feedstuff`s (Nov. 4, 2002).

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222. Here, UEP has implemented its scheme through a number of different acts,
including entering into agreements to reduce egg production according to a calculated formula
and phase-in schedule. By agreeing to reduce hen populations and to refrain from expanding
operations, UEP members were able to substantially reduce the size of the U.S. laying flock per
capita.

223. Fred Adams, founder and chairman of Cal-Maine Foods, described the impact of
the UEP Certified campaign and boasted about the success of the “agreement” reached in the
industry:

[B]asically the agreement was that we would give the chickens
more space in the laying cages. ....The net effect of that was
reducing the number of laying hens in existing facilities by some
20%. [] This is been a very successful program . . . .

224. The cartel used their illegal conspiracy and unlawfully-acquired market power to
suppress competition through an overarching, deceptive and exclusionary scheme designed to
reduce output and to fix and raise the price of eggs sold in the United States at artificial and
supracompetitive levels. While publicly UEP has indicated that the certification guidelines were
adopted to promote animal husbandry, in reality they were secretly adopted as a “roadmap” to
allow the industry to reduce output and fix prices. Further, the agreements not to replace lost
capacity through cage increases have no justification in animal husbandry and were implemented

solely to further the cartel’s scheme to maintain prices at supracompetitive levels.

5. UEP Also Reduced Supply By Selective Exportation of Eggs, Thereby
Increasing Domestic Prices.

225. UEP and its members also conspired to keep egg prices high in the U.S. by

causing eggs to be exported abroad at a loss. By removing a small fraction of eggs that would

 

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Audio Recording: Presentation by F red Adams for Cal~Maine Foods, Inc. Stephens
Spring Investment Conference (June 4, 2008).

 

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have been bound f`or U.S. sales and arranging instead for their export, UEP helped tighten
domestic supply and drive up the price of eggs across the country.

226. After three years without significant exports, United Egg shipped nearly 100
container loads, or 24 million dozen fresh eggs, to Europe and the Middle East at the end of 2006
and early 2007. Each member was required to provide a share of the sale, prorated by flock size.
The orders were sold at below the prevailing U.S. price for fresh eggs. UEP credited the
campaign with helping to boost domestic egg prices, which rose more than 40% in the next year.
Gene Gregory said export orders amounted to less than 2% of industry output. "But it is amazing
how one or two percent can have an effect on the rest of your domestic price," he said.

227. When egg prices began to soften in March of 2008, UEP put together another
export order. lt sent 100 container loads, this time to buyers in Japan and Iraq, again selling them
at well below the domestic price. U.S. egg prices shot up again in the summer. UEP says it is in
the process of shipping 120 more container loads.

6. Grand Jury Investigation Into The Egg Industry.

228. The United States Department of Justice, acting through a grand jury convened in
Philadelphia, is conducting an investigation of anticompetitive practices in the egg industry.

229. On September 23, 2008, it was revealed that the three largest U.S. egg processors
have received grand-jury subpoenas. The criminal investigation is focused on the pricing and
marketing of eggs and egg products. Defendants Golden Oval, Michael and Moark LLC have
each confirmed that they received subpoenas, sent by the U.S. Attomey in Philadelphia, covering
the years 2002-08. Golden Oval said it is cooperating with the U.S. inquiry; MoArk also is
cooperating A Michael executive also declined to comment and said the company is responding

to the government's requests.

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VIOLATIONS ALLEGED
Section 1 of the Sherrnan Actl 15 U.S.C. § l

230. Plaintiff incorporates by reference as if fully set forth herein, the preceding
allegations of this Complaint.

231. In response to market conditions, and in an effort to stem declining prices and
artificially inflate the prices of eggs, beginning at least as early as 1999, the exact date being
unknown to plaintiff, and continuing thereafter through the present, the defendants and their co-
conspirators engaged in a continuing combination and conspiracy in unreasonable restraint of
interstate trade and commerce in violation of Section l of the Sherrnan Act, which had the
purpose and effect of fixing, raising, maintaining and stabilizing the prices of eggs at artificially
high, non-competitive levels in the United States.

232. The aforesaid combination and conspiracy between and among the defendants
and their co-conspirators was furthered and effectuated, among other ways, in the following
manner:

(a) Throughout the 1990$, eggs prices could not be maintained due to a
fluctuating imbalance of supply over demand - after spurts of high prices,
producers were add more production capacity and prices would fall again.

(b) Against this backdrop, UEP communicated with and acted in concert with
its member competitors and non-member conspirators and conspired and
combined to effectuate a substantial reduction of the production and
supply of eggs, which allowed for a series of substantial increases in eggs

prices.

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(C)

(d)

(€)

As part of defendants’ strategy to increase the price of eggs, the UEP, its
members, and non-member co-conspirators drafted guidelines with animal
husbandry as pretext, but with the knowledge and understanding that the
guidelines would be used by the co-conspirators to substantially reduce
egg production; manipulated molting schedules to keep productions low;
reduced chick hatching; coordinated with co-conspirators to reduce or
delay the introduction of added egg capacity through the construction of
new farms; and reduced production rates at existing eggs farms. These
actions were extraordinary, non-competitive, and contrary to economic
fundamentals

Defendants also conspired to increase domestic prices for eggs by making
selective exports of eggs abroad at below cost.

To maintain the supracompetitive price of eggs, defendants took
significant steps throughout 2000-2008, which resulted in record high

prices for eggs throughout this period,

233. F or the purpose of effectuating the aforesaid combination and conspiracy, the

defendants and their co-conspirators:

(a)

(b)

 

agreed among themselves to fix, raise, maintain and stabilize the prices of
eggs in the United States;
agreed among themselves to restrict the supply of eggs by implementing
and coordinating output restrictions at their egg farms and exporting eggs

abroad; and

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(c) agreed among themselves to implement and coordinate increases in the
prices of eggs in the United States.

EFFECTS OF THE DEFENDANTS"ILLEGAL COURSE OF CONDUCT
234. The aforesaid conspiracy had the following effects, among others:

(a) Price competition among the defendants and their co-conspirators in the
sale of eggs was restrained and suppressed;

(b) Prices of eggs manufactured and sold by the defendants and their co-
conspirators in the United States were fixed, raised, maintained and
stabilized at artificially high, non-competitive levels; and

(c) Buyers of eggs from the defendants and their co-conspirators, including
plaintiff and class members, were deprived of the benefits of free and open
competition in the purchase of eggs.

INJURY TO PLAINTIFF AND CLASS MEMBERS

 

235. As a direct and proximate result of the combination and conspiracy alleged
herein, plaintiff and other members of the Class were, and continue to be, damaged in their
business or property in that they paid more for eggs during the Class Period than they would
have paid in the absence of such combination and conspiracy.

PRAYER FOR RELIEF
WHEREFORE, plaintiff demands judgment against defendants as follows:
(a) Declaring this action to be a proper class action pursuant to the Federal

Rules of Civil Procedure on behalf of the Class as defined herein;

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(b)

(C)

(d)

(€)

Declaring that the unlawful combination and conspiracy alleged herein be
adjudged and decreed to be in unreasonable restraint of trade or commerce
in violation of Section 1 of the Sherrnan Act, 15 U.S.C. § 1;`

Declaring that plaintiff and the Class recover treble their damages as
caused by the conspiracy alleged herein, as provided by law, and that
judgment in favor of plaintiff and the Class be entered against defendants
in that amount;

That plaintiff and the Class recover their costs of this suit, including
reasonable attorneys’ fees and costs, as provided by law; and

That plaintiff and the Class be granted such other and further relief as the
nature of the case may require or as may seem just and proper to this
Court.

TRIAL BY JURY

Trial by jury is demanded on all issues so triable.

September 25, 2008

Z>mr wpa/aaa

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